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                              UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF WEST VIRGINIA
                                  HUNTINGTON DIVISION

Jonathan R., minor, by Next Friend, Sarah                     )
DIXON, et al.,                                                )
                                                              )
                                                              )
                                   Plaintiffs,                )        Class Action
                                                              )        3:19-cv-00710
v.                                                            )
                                                              )
Jim JUSTICE, in his official capacity as the                  )
Governor of West Virginia, et al.,                            )
                                                              )
                                                              )
                                   Defendants.                )


            PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
                           CLASS CERTIFICATION

I.      INTRODUCTION1

        Foster children face severe and ongoing harm in West Virginia—a harm that Defendants

appear to ignore or, worse, condone. The State has long known about the grievous constitutional

deficiencies that beleaguer its foster care system. Yet, with each passing year, Defendants have

chosen to leave the deficiencies firmly in place. Foster children still suffer through inadequate and

unsafe placements. The State still fails to provide medical, behavioral, mental health, and other

health services. And overworked caseworkers are still largely unable to meet their case planning

responsibilities, upon which children depend to achieve any modicum of stability. Although the




1
 All cited exhibits will be references at “Ex. _” and are attached to the Declaration of Marcia Robinson Lowry
(hereinafter “Lowry Dec.”), filed with this Memorandum with a citation to the relevant pages.


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West Virginia foster care population expanded from 2013 through early 2020, Defendants have

continued to ignore the urgent need to address the long-standing crisis that is its foster care system.2

         This putative class action is brought on behalf of the foster children who suffer injuries

resulting from Defendants’ inaction. These foster children seek to enjoin Defendants, the State

actors charged with protecting them, from continuing to subject them to substantial risk of harm

from statewide policies, both written and unwritten,3 and practices that degrade their worth and

well-being. The aforementioned policies and practices include a shortage of placements, the near

abandonment of timely assessments and case plans, chronically high caseloads, and an insufficient

number of caseworkers.4 The harms, which affect all foster children in West Virginia, especially

endanger those foster children belonging to the subclasses of this action: children with disabilities,

children in kinship care, and older teens “aging out” of foster care.

         Defendants appear to appreciate that the West Virginia foster care system has fallen apart.

An internal email from 2016 reveals the panic of Nancy Exline, the Commissioner for the Bureau

for Children and Families, over the severe shortage of caseworkers. She writes, "[w]e need to

declare this as a crisis & send up a white flag to the feds & others . . . I truly no longer know how

we can do CPS as we are required.”5 In 2017, DHHR took a more measured tone: “[T]he way we




2
    See Bureau for Children and Families, Legislative Foster Care Reports, available at
https://dhhr.wv.gov/bcf/Reports/Pages/Legislative-Foster-Care-Reports.aspx (documenting general increase in West
Virginia foster care population from 2013 through July 2020).
3
  Defendants’ policies, which Plaintiff Children allege violate their constitutional and federal statutory rights, are not
always written policies. (See, e.g., ex. 1 at D139302, 310-11 (Kinship Care Strengths Assessment, A Second Chance,
Inc. (March 2019)) (hereinafter “Kinship Care Strengths Assessment”)). Defendants maintain both formal and
informal policies that guide the agency’s action and decisions, and that place Plaintiff Children at risk of harm.
4
  Ex. 2 at D003776, 782 (Child and Family Services Reviews: West Virginia Final Report, U.S. Dep’t of Health and
Human Resources (2017) (hereinafter “2017 CFSR”) (noting, “caseworkers are not adequately assessing and
addressing safety and risk initially or on an ongoing basis. . . . Contributing to these and other findings in the CFSR
was a consistent lack of or only limited contact with children and families. . . . The agency is not consistently
completing quality comprehensive assessments of the needs of children and parents. . . . [T]he completion of quality
ongoing assessments is most challenging.”).
5
  Ex. 3 at D062426 (Email from Nancy Exline to Tina Mitchell (Aug. 3, 2016)).


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have traditionally practiced may not always result in the best possible outcomes for our children

and families.”6

        Yet even the unabashed failures of foster care in West Virginia have not driven Defendants

to undertake wholehearted reform. For example, DHHR has continuously opted out of creating

long-term retention plans for its overly shaky workforce and has done little to ensure that workers

develop plans and deliver services to children in its custody. One report observed, “[t]here is not

a sense of urgency by the BCF in achieving a CPS workforce capable of conducting timelier

investigations of child abuse allegations.”7 Similarly, West Virginia has lacked an adequate array

of foster homes since as early as 2002.8 Nonetheless, as of 2017, Defendants had not yet developed

and implemented “[a]n effective recruitment plan . . . to meet the increased need for quality homes

in the state,”9 according to a federal audit.

        Class action is the only remaining avenue to rouse Defendants from the stupor that enables

an openly injurious foster care system to continue crippling children without reserve. Plaintiffs

now seek class certification on behalf of a general class of foster children, and three subclasses, to

redress the federal statutory and constitutional violations that have come to define West Virginia’s

child welfare system.

II.     STATEMENT OF FACTS

        A.        West Virginia’s Foster Care System Has a Long Record of Common Failures

        The evidentiary record developed thus far establishes that the practices and policies of

Defendants expose the children in DHHR custody to a substantial risk of harm, in violation of their


6
  Ex. 4 at D057473, 476 (Semi-Annual Progress Report, West Virginia Dep’t of Health & Human Resources (Oct. 31,
2017)).
7
  Ex. 5 at D055679, 680 (Summary of Child Welfare & CPS Audits, Dep’t of Health & Human Resources (April 10,
2018)).
8
  Ex. 6 at D003152, 183 (Final Report, West Virginia Child and Family Services Review, U.S. Dep’t of Health and
Human Services Administration for Children and Families (October 2002) (hereinafter “2002 CFSR”)).
9
  Ex. 2 at D003776, 782 (2017 CFSR)).


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constitutional and federal statutory rights.10 The practices and policies incontrovertibly promote

this risk of harm by (1) failing to maintain an adequate array of foster care placements, both in

number and type; (2) failing to engage in adequate and appropriate case planning; and (3) failing

to maintain appropriate staffing, which results in high caseloads and over-extended workers.

Critically, these practices and policies affect all foster children in DHHR custody—whether they

entered foster care due to a child abuse or neglect proceeding or a juvenile justice proceeding.

         The case files that Defendants have produced for the Named Plaintiff Children prove

woefully deficient. Expert witnesses for Plaintiffs did not hesitate in avowing that “[a]ll nine cases

lacked even the rudimentary organization that child welfare case records require. Documents were

organized neither by chronological date nor by categories.”11 The failure of Defendants to maintain

accessible records has undoubtedly forced “DHHR workers and supervisors [to] reckon with a

resource that resembles a giant, disassembled jigsaw puzzle rather than a professionally organized,

legal case record.”12 As a result, these records could not have “be[en] used for supervisory review,

continuous quality improvement, safety assessment, safety planning or critical decision-making

review.”13

         Yet even fragmentary documentation cannot conceal the systemic failures and ensuing

injuries that pervade foster care in West Virginia. The case files of the nine Named Plaintiffs—

who entered foster care in different counties, for different reasons, and at different times—reveal

that DHHR committed the same chronic failures despite repeated warnings of the need for

significant improvement. Indeed, Plaintiffs’ expert witnesses have concluded, “[w]hile some


10
   Cf. M.D. v. Perry, 294 F.R.D. 7, 45 (S.D. Tex. 2013) (“Individuals in the State's custody have a constitutional right
to be free from an undue risk of harm, or, the same thing stated another way, a right to reasonably safe living
conditions.”).
11
   Ex. 7, Declarations and Expert Report of Jan Flory, M.S.W., Susan Getman, M.S.W., and Elsa Popchak, L.S.W.
(Aug. 2020) (hereinafter “Flory, Getman, and Popchak Report”) at p. 31.
12
   Id. at p. 31.
13
   Id. at p. 69.


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themes are evident in 100% of the reviewed cases, . . . each remaining theme amounts to a major

shortfall evident in 44% - 89% of the reviewed cases.”14

         First, every child suffered the consequences of Defendant’s failure to assign them to stable

placements. This failure followed from both a haphazard placement process and an inadequate

placement array that has driven numerous foster children into out-of-state institutions.15 “The

trauma of multiple placements for [the Named Plaintiff] children was not only immediate but

cumulative over many disruptions, resulting in behavior that was increasingly difficult to manage

for caregivers.”16 Plaintiffs’ experts thus concluded, “DHHR moved the children in these nine

cases quickly from one placement to another, mostly without evidence of any pre-placement

activities to help them adjust to new living environments.”17 Indeed, in 2017, DHHR placed over

nine percent of children in custody for less than a year in three or more placements. DHHR also

placed over twenty-eight percent of children in custody between twelve and twenty-four months

in three or more placements.18

         Second, Plaintiffs’ experts also determined that Defendants consistently disregarded the

case planning necessary for any foster child to achieve stability. That is, “DHHR caseworkers do

not appear to engage in sufficient case planning so as to anticipate and strategize about beneficial

interventions to avoid foster care disruptions when a child has an outburst of negative behavior or

a mental health crisis.”19 And “caseworkers who were aware of a child’s pending discharge date




14
   Id. at p. 2.
15
   See ex. 8, Declaration and Expert Report of Nisha Sachdev, Psy.D.,_(Aug. 11, 2020) (hereinafter “Expert Report
on ADA Subclass”) at p. 39 (“The increase in youth placed out of state indicates that West Virginia still has significant
gaps in in-state services to meet certain youth’s needs.”).
16
   Ex. 7, Flory, Getman, and Popchak Report at p. 15.
17
   Id. at p. 21.
18
   Ex. 9 at D137680, 689 (West Virginia AFCARS Context Data).
19
   Ex. 7, Flory, Getman, and Popchak Report at p. 25.


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for a specific treatment program did not engage in sufficient planning regarding where the child

would be placed next.”20

        And, third, the case files of the Named Plaintiffs demonstrate that DHHR has not sustained

a workforce capable of ensuring the children’s safety and wellbeing. Instead, “[t]he casework

practice that was documented in these records raises serious concerns regarding the knowledge

and skill of frontline workers and supervisors.”21 Relatedly, “the shortage of qualified and

experienced staff, high turnover, and high caseloads, result in the failed implementation of

[DHHR] policies and procedures.”22

        B.       Defendants’ Policies and Practices Expose Named Plaintiffs to Actual,
                 Substantial Harm

        The Named Plaintiff Children have suffered actual injuries. Defendants’ common policies

and practices place the General Class at substantial risk of suffering as well. In the Fourth Circuit,

such exposure to a substantial risk of harm establishes a constitutional injury.

                 1.       Theo S.23
        Theo S. is eight years old and has been in foster care for over four years. Although Theo

was born with a high drug withdrawal score, DHHR screened out the report and released him to

his mother. Over the following years, DHHR received eight additional reports of suspected child

abuse and neglect relating to drug abuse, domestic violence, housing instability, and inappropriate

living conditions. DHHR finally removed Theo from his parents at the age of three.

        Over the past four years, DHHR has placed Theo in eleven different placements, including

eight foster or kinship placements, two psychiatric hospitals, and an out-of-state residential

treatment program where he still remains. Throughout these placements, caregivers have reported


20
   Id. at p. 22.
21
   Id. at p. 32.
22
   Ex. 8, Expert Report on ADA Subclass at p. 16.
23
   Ex. 7, Flory, Getman, and Popchak Report at pp. 36-79.


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to DHHR Theo’s escalating and alarming behaviors, including threats to kill himself. Despite the

obvious signs of his need for help, DHHR did not try to implement individualized treatments to

address his behavioral needs until his tenth placement. Moreover, the record does not specify

Theo’s permanency plan or the steps that DHHR has taken to move him towards permanency.

                     2.   Serena S.24
            Serena is eleven years old. She was born with both Down Syndrome and congenital heart

disease. In January 2019, DHHR removed ten-year-old Serena and her brother from their home

due to educational neglect and her parents’ failure to provide safe and adequate living

arrangements. Although DHHR set Serena’s permanency goal as reunification, the record does not

reflect any efforts by the Department to arrange for parental visits. In September 2019—nine

months after her removal—the court terminated her parents’ parental rights.

            Since Serena entered foster care, DHHR has placed her in four foster homes and one

kinship placement. Notably, in each placement, caseworker contact notes are sparse and sometimes

occur months apart. DHHR also failed to arrange visits between Serena and her brother, and sibling

visits did not occur until her foster parents arranged visits in August 2019. Additionally, Serena

has consistently displayed sexually inappropriate behavior and disclosed that a bearded monster

would “eat her down there”. Despite these remarks, DHHR has not conducted an investigation or

evaluated Serena for possible sexual abuse. Her entire record is “extraordinarily poorly

documented” and “out of compliance with . . . DHHR’s policies [and] its very foundational

principles.”

                     3.   Anastasia M.25




24
     Id. at pp. 80-132.
25
     Id. at pp. 134-75.


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           Anastasia M. is a twelve-year-old girl. She has been in DHHR’s custody twice. When

Anastasia was four years old, DHHR removed her from her parents and placed her brother and her

with a foster mother, Ann M. Shortly thereafter, DHHR investigated and closed Ann’s foster home

and removed the children. Over the next several months, Anastasia cycled through multiple

placements until DHHR returned Anastasia to Ann. Ann later adopted Anastasia.

           DHHR received multiple reports of Ann’s abuse towards Anastasia and her adoptive

siblings, including reports of extreme disciplinary practices. Finally, in February 2019, DHHR

removed eleven-year-old Anastasia, as well as the other children in Ann’s care, and placed her in

foster care. Since she re-entered state custody, DHHR has placed Anastasia in at least five different

placements. She currently resides in a congregate care facility in Georgia. The court, meanwhile,

has issued a no-contact order between Anastasia and her adoptive mother. Despite the order,

DHHR’s current permanency plan for Anastasia remains reunification with Ann.

                     4.    Ace L.26
           Ace L. is a thirteen-year-old boy who has been in DHHR custody twice. DHHR first

removed Ace, along with his older sister, from his mother’s care when he was three years old due

to allegations of neglect, drug abuse, and exposure to physical and sexual abuse. Following an

improvement period, DHHR returned the children to their mother. Over the next four years, Ace

and his sister suffered continued abuse and neglect. In 2016, DHHR again removed the children.

           Over the past four years, DHHR has placed Ace in nineteen different placements, which

have included foster homes, emergency shelters, psychiatric hospitals, and in-state and out-of-state

group care facilities. During this time, DHHR has failed to provide Ace with adequate services to

address, among other issues, his encopresis, a disorder that frequently results from sexual abuse.



26
     Id. at pp. 177-219.


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It has also shuffled Ace from placement to placement and, as a result, he has lost most of his

familial and community connections. Still further, Defendants have failed to search for a family-

like placement that would accommodate his specialized needs.

                     5.    Karter W.27
           Karter W. is fourteen years old and has been in foster care in West Virginia for four years.

Before placing Karter in foster care, DHHR received twenty-two reports of suspected abuse or

neglect, several of which occurred during the first two years of his life. Nonetheless, DHHR did

not remove Karter from his mother’s care until he was ten years old. Shortly after his removal, his

mother voluntarily relinquished her parental rights. Despite his young age, DHHR never looked

for a permanent home for Karter. Instead, DHHR set his permanency goal as independence.

           In the four years that Karter has been in foster care, DHHR has placed him in eight different

placements, including four emergency shelters, one temporary therapeutic foster home, in-state

and out-of-state long-term psychiatric facilities, and an out-of-state congregate care facility.

DHHR moved Karter from his seventh placement, a psychiatric facility in Virginia, after staff

allegedly used excessive force to restrain him. He currently resides in a residential treatment

facility in Pennsylvania.

                     6.    Gretchen C.28
           Gretchen C. is sixteen years old. She first came to the attention of DHHR when she was

eight months old. Over the years that followed, DHHR received many reports of alleged abuse and

neglect of Gretchen, including reports of sexual abuse, parental drug use, and exposure to domestic

violence. Still, DHHR did not remove her. Eventually, Gretchen began exhibiting her own extreme

behaviors. And, in March 2016, she entered foster care pursuant to a delinquency proceeding. Over



27
     Id. at pp. 220-66.
28
     Id. at pp. 267-322.


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less than four years, DHHR cycled Gretchen through sixteen different placements. Her placements

included a detention center, five emergency shelters, four short-term psychiatric hospitals, and six

residential facilities, one of which was out of state. In December 2019, Gretchen was placed in the

custody of her grandmother and exited DHHR custody.

                7.       Jonathan R.29
        Jonathan R. is seventeen years old. DHHR has had custody of him for roughly four years.

His biological parents physically, mentally, and sexually abused Jonathan and struggled with drug

addictions. When Jonathan was seven years old, they consented to a private adoption of Jonathan

and his younger brother. From April 2010 until May 2016, Jonathan remained with his adoptive

parents. Throughout these six years, DHHR received numerous reports about Jonathan’s safety in

the home, and, in May 2016, removed Jonathan from his adoptive home.

        During four years in foster care, Jonathan has experienced twelve placements, including

three emergency shelters, three psychiatric hospitals, two out-of-state residential care facilities,

two in-state residential care facilities, and one kinship placement.30 Several different DHHR

caseworkers have been assigned to his case. Jonathan became increasingly depressed while in

DHHR custody, and, in December 2018, he was hospitalized after threatening to harm himself and

staff. Jonathan’s mother reportedly was present for his hospital admission. She petitioned the court

to reinstate her parental rights, but the court denied her petition. In February 2019, DHHR placed

Jonathan with his maternal grandmother, who later became certified as a foster parent.

                8.       Dennis C.31
        Dennis C. is seventeen years old and has been in DHHR custody twice. In 2003, DHHR

removed him from his family when he was six months old because he suffered a brain injury and


29
   Id. at pp. 323-60.
30
   DHHR failed to document one of Jonathan’s 2018 placements.
31
   Id. at pp. 361-402.


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stroke from Shaken Baby Syndrome. As a result of the injuries, Dennis experiences cognitive

delays, an intellectual disability, a weakened left hand and arm, and other mental health disorders.

DHHR soon returned Dennis to his family. Between 2013 and 2014, DHHR received seven reports

of alleged abuse and neglect. In 2014, DHHR again removed Dennis, along with his older brother.

            Since Dennis re-entered foster care, DHHR has moved him between ten different

placements. DHHR has placed Dennis in three foster homes (two of which were therapeutic), with

relatives on three separate occasions, in three emergency shelter care placements, and in one

residential facility. DHHR has also set various permanency goals for Dennis that ranged from

adoption and guardianship with relatives to independent living. Although Dennis was legally freed

for adoption in 2015 and has stated that he wants to live with his grandmother, his case file contains

minimal, if any, record of permanency planning by DHHR. Dennis currently resides at a residential

facility in West Virginia. From this facility, DHHR plans to transition him to assisted living in the

community. Dennis’s functioning renders this goal unlikely to succeed.

                     9.    Garrett M.32

            In April 2020, Garrett M. turned eighteen years old. He had been in DHHR custody for

seven years. Garrett was born in New York, where he lived with his biological parents and siblings.

New York’s Administration for Children’s Services became involved with his family after his

youngest sister was born testing positive for opiates. Garrett’s father and other family members

physically and sexually abused Garrett and his younger sisters. In January 2011, Garrett’s mother

died of a drug overdose. His father subsequently lost custody of the children.

            Garrett and his sisters were sent to live in West Virginia with their aunt and uncle. In May

2013, DHHR removed the children from their aunt and uncle’s home following investigations of



32
     Id. at pp. 404-56.


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physical abuse. DHHR moved Garrett to at least eighteen different institutional placements during

his time in its custody. Garrett, severely depressed, attempted suicide at least twice while in foster

care. His placements included only two therapeutic foster homes, several emergency shelters,

several detention centers, a placement with his father, at least two congregate care facilities, and a

kinship placement in Ohio. DHHR failed to prepare him for adulthood, and ultimately discharged

him to a relative with whom he had not visited during his entire seven years in foster care.

                  10.      Calvin K., Chris K., and Carolina K.33

         Calvin K., Chris K., and Carolina K. are siblings, over whom DHHR maintained custody

at the time Plaintiffs filed their Complaint. They were subsequently adopted, and, on February 2,

2020, Defendants moved to dismiss their claims. (See ECF No. 56.) Plaintiffs opposed Defendants’

motion, noting that, in their Complaint, Plaintiffs alleged that Chris and Calvin had been in foster

care for three years, Carolina had been in foster care for two years, and DHHR had placed all three

in multiple foster homes. (See ECF No. 61.)

III.     LEGAL STANDARD OF REVIEW

         A.       The Legal Standard for Class Certification

         Class certification is proper where a proposed class satisfies the four prerequisites of Fed.

R. Civ. P. 23(a) and fits into one of the three types of class actions described in Rule 23(b). See,

e.g., Berry v. Schulman, 807 F.3d 600, 608-609 (4th Cir. 2015).34 Rule 23(a) requires a plaintiff to

show “(1) the class is so numerous that joinder of all members is impracticable; (2) there are

questions of law or fact common to the class; (3) the claims or defenses of the representative parties



33
   Defendants have refused to produce the case files of Calvin K., Chris K., and Carolina K. Thus, Plaintiffs’ experts
were unable to prepare a report analyzing their experiences in foster care.
34
   Cf. The Fourth Circuit acknowledges that “certification as a class action serves important public purposes,”
including “promoting judicial economy and efficiency” and “afford[ing] aggrieved persons a remedy . . . not
economically feasible . . . through the traditional framework of multiple individual damage actions.” Gunnells v.
Healthplan Servs., 348 F.3d 417, 424 (4th Cir. 2003) (quoting Moore’s Fed. Practice §23.02 (3d ed. 1999)).


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are typical of the claims or defenses of the class; and (4) the representative parties will fairly and

adequately protect the interests of the class.” Fed. R. Civ. P. 23(a). Moreover, Rule 23(b)(2),

commonly used to certify civil rights class actions, is satisfied where “the party opposing the class

has acted or refused to act on grounds that apply generally to the class.” Fed. R. Civ. P. 23(b)(2).

         While conducting a “rigorous analysis” to ensure Rule 23’s requirements have been met,

Wal-Mart Stores, Inc., v. Dukes, 564 U.S. 338, 351 (2011), courts may consider merits questions

“to the extent—but only to the extent—that they are relevant to determining whether the Rule 23

prerequisites for class certification are satisfied”, and may not “engage in free-ranging merits

inquiries at the certification stage,” Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455,

466 (2013).

         At the same time, in determining whether proponents of certification have met their burden,

district courts have “wide discretion.” Id. at 424. Indeed, precedent has directed federal courts to

“give Rule 23 a liberal rather than a restrictive construction, adopting a standard of flexibility in

application which will . . . ‘best serve the ends of justice for the affected parties and . . . promote

judicial efficiency.’” Gunnells, 348 F.3d at 424 (quoting In re A.H. Robins, 880 F.2d 709, 740

(4th Cir. 1989)).35

         Courts especially favor class certification, when, as here, the named plaintiffs allege civil

rights violations that can be addressed on a class-wide basis. Nonetheless, the Fourth Circuit has

held that the decision of whether or not to certify a class must factor in the nature of the allegations.

Brown, 785 F.3d at 921 (vacating district court’s decision denying certification to proposed

plaintiff class alleging discriminatory work-place policies and practices and noting, “the nature of



35
  See also Brown v. Nucor Corp., 785 F.3d 895, 921 (4th Cir. 2015) (holding “Rule 23 provides wide discretion to
district courts, in part, to promote the systemic class action virtues of efficiency and flexibility. The realization of such
benefits, however, requires that a district court exercise its judgment in a reasoned and expeditious manner.”).


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the allegations, the evidentiary support . . . and the inherent cohesiveness of the class all

demonstrate that the court’s failure to certify was an error.”).

         Significantly, courts within the Fourth Circuit have consistently certified classes that, like

the proposed class and subclasses, are comprised of individuals in state custody whose rights

defendants’ policies and practices violate. See, e.g., Scott v. Clarke, 61 F. Supp. 3d 569, 583 (W.D.

Va. 2014) (certifying class of approximately 1,200 female prisoners alleging that the policies and

practices at the correctional facility subjected them to substandard medical care in violation of

their constitutional rights).36 In the foster care context, federal courts across the country have

granted class certification where plaintiff children allege that state child welfare agencies, through

their policies and practices, subjected class members to harm, or a substantial risk thereof, in

violation of their constitutional rights. See, e.g., B.K. v. Snyder, 922 F.3d 957 (9th Cir. 2019), cert.

denied, No. 19-765, 2020 U.S. LEXIS 1731, at *1 (Mar. 23, 2020).37

         In this instance, Plaintiffs have satisfied the four Rule 23(b) prerequisites. Because

Plaintiffs’ requested injunctive relief aims at correcting Defendants’ unconstitutional conduct, the

class action is therefore properly maintained under Rule 23(b)(2).38 See Wal-Mart Stores, Inc., 564


36
   See also Buffkin v. Hooks, No. 1:18-CV-502, 2018 U.S. Dist. LEXIS 202875, at *44 (M.D.N.C. Nov. 30, 2018)
(certifying a class of “all current and future prisoners in [the Department of Public Safety’s custody] who have or will
have chronic Hepatitis C virus and have not” received proper treatment); Bumgarner v. NCDOC, 276 F.R.D. 452
(E.D.N.C. 2011) (certifying “a class of all present and future disabled inmates of the [Department of Corrections]
‘who have been, and may in the future be, . . . denied the benefits of the DOC’s sentence reduction credit program by
reason of their disabilities.’”).
37
   See also M.D. v. Abbott, 907 F.3d 237, 271 (5th Cir. 2018); DG v. Devaugh, 594 F.3d 1188, 1194 (10th Cir. 2010);
Marisol A. by Forbes v. Giuliani, 126 F.3d 372, 380 (2d Cir. 1997); Baby Neal v. Casey, 43 F.3d 48, 56 (3d Cir. 1994).
38
   Plaintiffs are not required to establish ascertainability under Rule 23(b)(2) in the instant action. While “Rule
23 contains an implicit threshold requirement that the members of a proposed class be ‘readily
identifiable,’” Krakauer v. Dish Network, L.L.C., 925 F.3d 643, 654-55 (4th Cir. 2019), the implicit “ascertainability”
requirement does not apply to Rule 23(b)(2) class actions seeking only injunctive and declaratory relief, as Plaintiffs
do here, because Rule 23(b)(2) class actions do not require notice as do (b)(3) class actions. Cole v. City of Memphis,
839 F.3d 530, 542 (6th Cir. 2016) (“The decisions of other federal courts and the purpose of Rule 23(b)(2) persuade
us that ascertainability is not an additional requirement for certification of a (b)(2) class seeking only injunctive and
declaratory relief.”); Shelton v. Bledsoe, 775F.3d 554, 561 (3d Cir. 2015) (“a judicially created implied requirement
of ascertainability—that the members of the class be capable of specific enumeration—is inappropriate for (b)(2)
classes.”); Shook v. El Paso Cty., 386 F.3d 963, 972 (10th Cir. 2004) (“while the lack of identifiability is a factor that
may defeat Rule 23(b)(3) class certification, such is not the case with respect to class certification under Rule


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U.S. at 360 (stating Rule 23(b)(2) is appropriate when “a single injunction or declaratory judgment

would provide relief to each member of the class.”).

IV.     THE COURT SHOULD CERTIFY THE GENERAL CLASS AND ALL THREE
        SUBCLASSES  BECAUSE     PLAINTIFF CHILDREN   MEET    THE
        REQUIREMENTS OF RULE 23(A)

        A.       The Plaintiff Class Is So Numerous that Joinder Is Impracticable

        Under Fed. R. Civ. P. 23(a)(1), the proposed class is sufficiently numerous to make joinder

impracticable. “[A]pplication of the Rule is to be considered in light of the particular circumstances

of the case”. Cypress v. Newport News Gen. & Nonsectarian Hosp. Ass’n., 375 F.2d 648, 653 (4th

Cir. 1967). Generally, “where [] knowledge and common sense would indicate that [the proposed

class] is large, the numerosity requirement is satisfied.” Mitchell-Tracey v. United Gen. Title Ins.

Co., 237 F.R.D. 551, 556 (D. Md. 2006).

        Although “[n]o specified number is needed to maintain a class action,” Cypress, 375 F.2d

at 145, “a class of as few as twenty-five to thirty members raises a presumption that joinder would

be impracticable,” Rodger v. Elec. Data Sys. Corp., 160 F.R.D. 532, 535 (E.D.N.C. 1995).39 In

fact, the Fourth Circuit has affirmed certification for putative classes with as few as eighteen

members. See Cypress, 375 F.2d at 653. Additionally, “where the relief sought for the class is

injunctive and declaratory in nature, more speculative representations as to the size of the class

suffice as to the numerosity requirement.” L.S. by and through Ron S. v. Delia, No. 5:11-CV-354-

FL, 2012 WL 12911052, *22 (E.D.N.C. Mar. 29, 2012).

        In this instance, the General Class and each Subclass easily satisfy the numerosity

requirement. The General Class consists of approximately 6,970 children currently in the custody



23(b)(2).”); Yaffe v. Powers, 454 F.2d 1362, 1366 (1st Cir. 1972) ("Notice to the members of a (b)(2) class is not
required and the actual membership of the class need not therefore be precisely delimited.”).
39
   See also Dameron v. Sinai Hosp. of Baltimore, Inc., 595 F. Supp. 1404, 1407 (D. Md. 1984) (certifying “class
consist[ing] of at least 47 to 51 persons.”).


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of DHHR.40 The ADA Subclass and the Kinship Subclass each consists of thousands of children

currently in foster care.41 Similarly, the Aging Out Subclass includes roughly 2,000 youth.42 These

classes are clearly large enough to make joinder impracticable. They also far exceed the thresholds

of twenty-five to thirty named plaintiffs at which joinder remains presumptively impracticable.

Therefore, Plaintiffs easily satisfy the numerosity requirement.

        B.        The Putative Classes and Subclasses Share Common Questions of Law and
                  Fact

                  1.       The commonality standard

        "[F]or purposes of Rule 23(a)(2), even a single common question will" satisfy the

requirement for class certification of questions of law or fact common to the class. Wal-Mart

Stores, Inc., 564 U.S. at 359 (internal quotation marks and alterations omitted). The “common

contention . . . must be of such a nature that . . . determination of its truth or falsity will resolve an

issue that is central to the validity of each one of the claims in one stroke.” Id. at 350. While class

members must have suffered “a shared injury . . . spring[ing] forth from the same ‘common

contention,’” Ealy v. Pinkerton Gov't Servs., 514 F. App'x 299, 304 (4th Cir. 2013), “the

commonality requirement does not require that all class members share identical factual histories,”

Clarke, 61 F. Supp. at 586.43 Rather, “[d]espite the presence of individual factual questions, the




40
   Foster Care Placements Report, West Virginia Dep’t of Health & Human Resources (July 31, 2020) (hereinafter
“2020 Placements Report”), available at https://dhhr.wv.gov/bcf/Reports/Documents/2020%20August%20
Legistlative%20Foster%20Care%20Placements%20Report.pdf). This number includes children who entered foster
care as the result of a child abuse or neglect proceeding as well as children who entered foster care pursuant to a
juvenile justice proceeding.
41
   See 2020 Placements Report; see also ex. 8, Expert Report on ADA Subclass at pp. 6-7.
42
   See ex. 10, Declaration and Expert Report of Elizabeth Aparicio, Ph.D. (Aug. 10, 2020) (hereinafter “Expert Report
on Aging Out Subclass”) at p. 6.
43
   Wal-Mart Stores, Inc., 564 U.S. at 586 (“[T]he commonality requirement does not require that all class members
share identical factual histories.”).


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commonality criterion . . . is satisfied by . . . common questions of law presented." Holsey v.

Armour & Co., 743 F.2d 199, 217 (4th Cir. 1984).44

         Questions of law or fact prove sufficiently common “[w]here the injuries complained of

by named plaintiffs allegedly result from the same unlawful pattern, practice, or policy of the

defendants.” Parker v. Asbestos Processing, LLC, No. 0:11-cv-01800-JFA, 2015 U.S. Dist. LEXIS

1765, at *19 (D.S.C. Jan. 8, 2015).45 For “[b]oth the existence and the ‘common reach’ of such

objectively applied patterns or practices are likely to be indisputable from the outset, so that no

real commonality problems for class action maintenance ever arise in this regard.” Stastny v. S.

Bell Tel. & Tel. Co., 628 F.2d 267, 274 n.10. (4th Cir. 1980). Moreover, the commonality element

is more easily established in proposed class actions that, like this action, seek injunctive or

declaratory relief. See Clarke, 61 F. Supp. 3d at 585.46

         The Supreme Court has compared commonality to the “glue” holding together plaintiffs’

claims. See Wal-Mart, Inc., 564 U.S. at 352. For instance, statistical and anecdotal evidence can

provide the “glue” of commonality that Walmart requires. Brown, 785 F.3d at 915. Indeed—

although “[c]ertification is only concerned with the commonality (not the apparent merit) of the

claims,” Lilly v. Harris-Teeter Supermarket, 720 F.2d 326, 332-33 (4th Cir. 1983)—the necessary

inference, statistical data, and direct evidence within this Motion establish the system-wide

practice that both fulfills the commonality requirement for class certification and furthermore

harms all class members or exposes them to a substantial risk of harm. See Stastny, 628 F.2d at


44
   See Neal, 43 F.3d at 59 (“[M]any . . . lawsuits challenging the provision of services to foster children have been
certified despite the varieties of factual differences that characterize the plaintiffs in each case and despite the variety
of legal claims any one class may make.”).
45
   See also Thorn v. Jefferson-Pilot Life Ins. Co., 445 F.3d 311, 319 (4th Cir. 2006) (“A common question is one that
can be resolved for each class member in a single hearing, such as the question of whether an employer engaged in a
pattern and practice of unlawful discrimination against a class of its employees.”).
46
   See also McGlothlin v. Connors, 142 F.R.D. 626, 633 (W.D. Va. 1992) (“[S]uits for injunctive relief by their very
nature present common questions of law or fact”); Twyman v. Rockville Hous. Auth., 99 F.R.D. 314, 321 (D. Md.
1983) (same).


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278 (recognizing that commonality “might conceivably be shown by necessary inference from

evidence of a sufficient number of instances . . . by statistical data . . . Or, of course, it may be

shown by direct evidence or by admission that there is in fact such a system-wide practice.”).

         At the same time, Wal-Mart Stores, Inc. reversed certification of the plaintiffs’ class when

they could not demonstrate that class members had “suffered the same injury.”47 In Wal-Mart, 1.5

million female employees had argued that local store supervisors had violated Title VII by

discriminating against them on the basis of sex. Id. at 343. Specifically, the plaintiffs alleged that

supervisors, who exercised wide discretion over such individual decisions, had issued employee

pay increases and promotions on a discriminatory basis. Id. at 344-45. Nonetheless, as the Supreme

Court responded, class certification requires more than “merely that [class members] have all

suffered a violation of the same provision of law.” Id. at 350. Rather, “[t]heir claims must depend

upon a common contention—for example, the assertion of discriminatory bias on the part of the

same supervisor.” Id. Clearly, the plaintiff employees had not satisfied the standard.

         The Fourth Circuit has noted that “Wal-Mart did not set out a per se rule against class

certification where subjective decision-making or discretion is alleged. Rather, where subjective

discretion is involved, Wal-Mart directs courts to examine whether . . . discretion [is exercised] in

a common way with some common direction.” Scott v. Family Dollar Stores, Inc., 733 F.3d 105,

113 (4th Cir. 2013) (internal quotation marks omitted).48 Similarly, “[o]ther district courts have

recognized . . . that [Wal-Mart’s] analytical regime concerning ‘commonality’ does not serve as a



47
  Wal-Mart, Inc., 564 U.S. at 350.
48
   For instance, in Family Dollar Stores, similarities between the proposed class and the class in Wal-Mart did not
stop the Fourth Circuit from holding, on review, that, “[t]he district court’s denial of leave to amend the complaint on
grounds that it was foreclosed by Wal-Mart is erroneous and based on a misapprehension of the applicable law.” 733
F.3d at112. Family Dollar Stores concerned fifty-one named plaintiffs seeking to represent a putative class of female
store managers. Id. at 108. The plaintiffs alleged that Defendants violated Title VII of the Civil Rights Act of 1964
and the Equal Pay Act by paying plaintiffs less than their male counterparts. Id. At the time, Family Dollar operated
approximately 7,000 stores across forty states. Id.


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barrier to the certification of class actions in cases involving . . . claims alleging a pattern and

practice of conduct resulting in unconstitutional conditions of confinement.” Clarke. at 587

         Under the existing precedent, Plaintiffs—a class of West Virginian foster children in the

custody of a single state agency—clearly fulfill the requirements for class certification. As the

Plaintiff Children allege harms stemming from Defendants’ unconstitutional policies and

practices, their claims depend upon a “common contention.” That is, the approximately 7,000 class

members, who generally reside in West Virginia, all allege harms that stem from statewide policies

and practices and are therefore capable of resolution in “one stroke” as Wal-Mart requires.49

                  2.        Substantial evidence of commonality exists with respect to the General
                            Class

         The General Class50 identifies common questions of fact and law, each of which satisfies

the commonality requirement and are capable of resolution in “one stroke” on a classwide basis.

         Questions of fact common to the classes include:

     •   whether Defendants fail to protect the General Class from physical, psychological, and
         emotional harm, and risk of harm;
     •   whether Defendants deprive Plaintiffs of the Kinship Subclass of necessary home safety
         assessments, case management and other services, and permanency planning;
     •   whether Defendants deprive Plaintiffs of the ADA Subclass of necessary and appropriate
         services and treatment to make them as able as their non- disabled peers to access an array
         of community-based placements and services to ensure access to the least restrictive
         environment;
     •   whether the Defendants offer supports and caseworker resources adequate to ensure that
         foster children fourteen years or older receive transition planning such that children that
         age out of the system into adulthood have adequate planning and resources to meet future
         housing, employment, educational, and other social needs.

49
   See e.g., M.D. v. Perry, C.A. No. C-11-84, 2011 U.S. Dist. LEXIS 152121, at *5-6 (S.D. Tex. July 21, 2011)
(“Whereas ‘the respondents [in Wal-Mart] wish[ed] to sue about literally millions of employment decisions at once,’
which occurred all around the nation, here Plaintiffs’ claimed injuries result from the common alleged deficiencies in
the Texas foster care system. Those alleged deficiencies are the ‘glue’ holding the claims together here. Plaintiffs have
much more in common than did the million-plus, nation-wide class at issue in Wal-Mart.” (internal citation omitted)).
50
   In West Virginia, children enter foster care, and therefore DHHR custody, through both dependency and juvenile
justice proceedings. See DHHR Foster Care Police § 1.8 (describing seven avenues through which children may enter
foster care, which include, inter alia, CPS taking a child into emergency custody after filing a petition alleging
abuse/neglect, a status offense bringing the child to the attention of the juvenile court, or a child being charged and/or
adjudicated as a delinquent). All such children belong to Plaintiffs’ General Class.


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   •   whether the Defendants operate a system that promptly and adequately assesses the
       individual needs of members of the class;
   •   whether Defendants operate a system that adequately plans placements, treatment, and
       supports appropriate to the individual needs of the members of the class and subclasses;
   •   whether the Defendants operate a system that provides an adequate diversity of placements
       to permit the members of the class to reside in the most integrated, least restrictive, and
       most family-like environment; and
   •   whether the Defendants provide adequate caseworker resources to ensure that members of
       the class can routinely meet with caseworkers face-to-face and engage in individual
       services.

       Questions of law common to the classes include:

   •   whether Defendants’ systemic failures violate Plaintiffs’ substantive rights under the Due
       Process Clause of the Fourteenth Amendment to the United States Constitution, including
       exposing children to further neglect, abuse, and trauma through unnecessary and too-
       frequent moves;
   •   whether Defendants’ systemic failures violate Plaintiffs’ right to all reasonable efforts to
       achieve permanency, under the First, Ninth, and Fourteenth Amendments to the United
       States Constitution, including by separating them unnecessarily from their families and
       siblings, and segregating them in institutions;
   •   whether Defendants’ systemic failures violate Plaintiffs’ rights under the Adoption
       Assistance and Child Welfare Act of 1980, as amended by the Adoption and Safe Families
       Act of 1997, including their right to placement in the least restrictive, most family-like
       home and their right to all reasonable efforts to achieve permanency; and
   •   whether Defendants’ systemic failures violate Plaintiffs’ rights under the Americans with
       Disabilities Act (“ADA”), 42 U.S.C. § 12131(2), Section 504 of the Rehabilitation Act
       (“RA”), 29 U.S.C. § 794, and the respective implementing regulations, including by
       unnecessarily placing youth with disabilities in institutional settings and denying them
       access to community-based treatment.

       As Plaintiffs allege that Defendants’ system-wide policies and practices expose all

members of the General Class to a substantial risk of harm, in violation of their constitutional and

federal statutory rights, “defendant's allegedly standardized practices . . . support a finding

of commonality.” Hoffman v. First Student, Inc., No. AMD 06-1882, 2008 U.S. Dist. LEXIS




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130923, at *16 (D. Md. Dec. 9, 2008).51 Plaintiffs identify a number of such practices and policies,

including:

                            a.       Inadequate array of appropriate placements

         As of July 31, 2020, roughly 6,970 children in the West Virginia foster care system remain

in out-of-home placements.52 Over only the past three years, the number of West Virginia children

in foster care has risen by around 1,000.53 In fact, the number of youth in the custody of the State

has steadily increased since 2014.54 As a result, West Virginia has the highest per capita rate of

children in State custody in the country.55 While the foster care population continues to rise,56

Defendants have failed to implement any meaningful statewide effort to recruit new resource

homes. A severe shortage of foster homes now faces DHHR.57




51
   See also Lambertz-Brinkman v. Reisch, No. CIV 07-3040, 2008 U.S. Dist. LEXIS 89017, at *5-6 (D.S.D. Oct. 31,
2008) (“All members of the class seek a declaration that an illegal policy and practice exists and an injunction should
be issued prohibiting such practice. This is sufficient to establish the requisite commonality.”).
52
   2020 Placements Report.
53
    Foster Care Placements Report, WV Dept. of Health and Human Resources (July 2017), available at
https://dhhr.wv.gov/bcf/Reports/Documents/2017%20August%20Legislative%20Foster%20Care%20Report.pdf.
54
     See Bureau for Children and Families, Legislative Foster Care Reports, available at
https://dhhr.wv.gov/bcf/Reports/Pages/Legislative-Foster-Care-Reports.aspx (documenting general increase in West
Virginia foster care population from 2013 through July 2020).
55
   Debbie Cenziper, Emily Corio, Kelly Hooper & Douglas Soule, the Opioid Files, WASHINGTON POST (Oct. 18,
2019), available at https://www.washingtonpost.com/graphics/2019/investigations/west-virginia-opioid-legal-battle-
foster-care/.
56
   See ex. 2 at D003776, 800 (2017 CFSR)) (“It was reported that the number of children entering foster care has risen
while the number of homes has not matched the increase in need, and that the shortage of homes has resulted in
children sometimes sleeping in offices and being placed in shelter care.”); Roxy Todd, Inside West Virginia’s
Overwhelmed Foster Care System, West Virginia Public Broadcasting (Oct. 9, 2019), available at
https://www.wvpublic.org/post/inside-west-virginia-s-overwhelmed-foster-care-system#stream/0 (“In West Virginia,
the foster care system has been hit particularly hard; roughly 6,700 children in the state are in foster care, an increase
of almost 70% in six years.”).
57
   See ex. 11 at D003987, 4015 (Child and Family Services Plan, 2015 - 2019, West Virginia Dep’t of Health & Human
Resources (2014) (hereinafter, “2015-2019 CFSP”)) (“All Districts interviewed over the course of the two year period
state that they struggle with the lack of foster care placement options.”); ex. 12 at D065304, 304 (Email from Chuck
Kleine to Amanda McCreary (Oct. 3, 2018)) (“West Virginia is currently experiencing a drastic shortage of foster
homes that are able to meet the needs of the children being placed in care. There is often difficulty matching certain
child needs with foster parent specifications. Children of certain ages, specialized treatment requirements, or even
large sibling groups can be harder to place.”); ex. 13 at D068521, 522 (Email from Jessica Holstein to Janie Cole (Jan.
28, 2019)) (a spokeswoman for the Department of Health and Human Resources acknowledged in early 2019 that
“West Virginia is currently experiencing a drastic shortage of foster homes that are able to meet the needs of the
children being placed in care. “).


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        The lack of sufficient placements for foster children has caused Defendants to engage in a

haphazard placement process that embraces a total disregard for individualized care.58 DHHR has

exhibited “an overreliance on shelter care,”59 and leaves children in temporary shelter care for

months on end.60 West Virginia also has a long history of relying on out-of-state care.61 Indeed, of

the 724 children living in group residential care as of July 2020, DHHR sent over thirty percent of

those children to out-of-state facilities.62 Alternatively, Defendants place children in overcrowded

foster homes on an emergency basis—or force children to stay overnight in hotels and DHHR

offices.63 Many children find themselves in inappropriate and often dangerous institutions. In fact,

the Department of Justice (“DOJ”) found in 2015 that DHHR institutionalizes seventy-one percent

of foster youth between the ages of twelve and seventeen.64 By 2018, DHHR had made little

headway in ameliorating the problem and conceded that West Virginia “rank[s] in the top six in

the country” in terms of placing children in congregate care.65 Ultimately, DHHR admitted,

“[t]here is no mechanism in place to accurately and appropriately match children that are coming

into the foster care system with already existing foster care providers.”66 As the DOJ had already

warned in 2015, placements were recommended “based on which segregated residential treatment



58
   See ex. 7, Flory, Getman, and Popchak Report at p. 21 (“For the Named Plaintiff [C]hildren, . . . DHHR used the
first available placement . . . [F]requent placement changes primarily resulted from the inability of the placements
secured by DHHR to meet the children’s individualized therapeutic needs.”).
59
   WV Child and Family Services Review, Program Improvement Plan, West Virginia Dep’t of Health & Human
Resources      (December       13,    2019)    (hereinafter  “PIP     Review”),    at   p.    23,     available   at
https://dhhr.wv.gov/bcf/Reports/Documents/WVCFSR.ProgramImprovementPlan.pdf.
60
   Ex. 7, Flory, Getman, and Popchak Report at pp. 21, 25.
61
   Ex. 14 at D058224, 228 (Initial Design and Implementation Report, 2nd Quarter, West Virginia Dep’t of Health and
Human Resources (May 14, 2015) (hereinafter “2015 2Q Safe at Home Report”).
62
   2020 Placements Report.
63
   Ex. 15 at D023537, 537 (Offices or Hotels per Month); Roxy Todd, Inside West Virginia’s Overwhelmed Foster
Care System, MARKETPLACE (Oct. 9, 2019), available at https://www.marketplace.org/2019/10/09/inside-west-
virginias-overwhelmed-foster-care-system/.
64
   Letter from Dep’t of Justice, Civil Rights Div., to Office of the Governor, State of West Virginia, p. 6 (June 1,
2015), available at https://www.ada.gov/olmstead/documents/west_va_findings_ltr.pdf (hereinafter “DOJ letter”).
65
   Ex. 16 at D004703, 061 (Fourth Annual Progress Report, West Virginia Dep’t of Health and Human Resources
(2018)) (hereinafter “2018 Progress Report.”).
66
   Ex. 11, 2015-2019 CFSP at D004010.


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facility has a bed.”67 Ultimately, Plaintiffs’ expert witnesses have concluded that “significant

overuse of congregate care in West Virginia [continues] despite a widespread acceptance amongst

child welfare experts and child welfare systems that congregate care is generally a poor

environment in which children should grow up.”68

        Defendants relegate a large number of children to out-of-state care. As of July 31, 2020,

DHHR had placed 300 children in out-of-state institutions.69 Approximately seventy-eight percent

of these children live in group residential care.70 Roughly twenty-one percent stay in long-term

psychiatric facilities,71 which amount to “the most restrictive type of care for children in foster

care.”72 Ineffective management practices at out-of-state facilities have ensured that these children

rarely receive adequate supervision and care. Many facilities have faced criminal investigations

into sexual, physical, and emotional abuse of children by undertrained employees.73 Other

investigations have uncovered the misuse of physical and chemical restraints as methods of

oversight.74 Yet, according to a 2015 DHHR report, “[w]orkers in some areas of our state have


67
   DOJ letter at p. 7.
68
   Ex. 10, Expert Report on Aging Out Subclass at p. 19.
69
   2020 Placements Report.
70
   Id.
71
   Id.
72
   See DHHR Foster Care Policy, § 2.4.7, Aug. 2020, available at https://dhhr.wv.gov/bcf/policy/Documents/
Foster%20Care%20Policy%20August%202020.pdf (hereinafter “Foster Care Policy”)).
73
   See, e.g., Lee Rood, Police Report Details Fights, Sex Crimes at Iowa Academy for Troubled Youth, DES MOINES
REGISTER (Nov. 26, 2018), available at https://www.desmoinesregister.com/story/news/investigations/readers-
watchdog/2018/11/26/clarinda-academy-iowa-begins-probe-fights-sex-crimes-found/2057894002/;               Harold
Brubaker, Woods Service Disputes Rape Allegations in Lawsuit, PHILADELPHIA INQUIRER (Aug. 7, 2018), available
at                https://www.inquirer.com/philly/business/woods-services-lawsuit-20-year-old-woman-alleged-rape-
20180807.html; Kelly Wiley, Lighthouse Care Center Sued over Sexual Misconduct Allegations, NEWS 12 NBC (July
24, 2018), available at https://www.wrdw.com/content/news/Lighthouse-Care-Center-sued-over-sexual-misconduct-
allegations--489057271.html; Samantha Manning, Woman Says Behavioral Facility Didn’t Protect Daughter from
Worker Accused of Sexual Battery, WFTV (Nov. 3, 2017), available at https://www.wftv.com/news/9-
investigates/woman-says-behavioral-facility-didnt-protect-daughter-from-worker-accused-of-sexual-
battery/638177911/.
74
   See, e.g., Lee Rood, Clarinda Students Were Restrained and Injured as Punishment, Records Show, DES MOINES
REGISTER (Dec. 22, 2018), available at https://www.desmoinesregister.com/story/news/investigations/readers-
watchdog/2018/12/22/clarinda-academy-iowa-students-restrained-injured-punishment-investigation-woodward-
academy/2387163002/; Lee Rood, Police Report Details Fights, Sex Crimes at Iowa Academy for Troubled Youth,
DES MOINES REGISTER (Nov. 26, 2018), available at https://www.desmoinesregister.com/story/news/investigations/


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become so used to accessing services outside of the community and/or placement in residential

care, that it is considered the norm.”75

         But inadequate placements also pose a more general harm to children in the foster care

system. Since problematic placements often do not last, DHHR has conceded that “[t]he stability

in foster care placements is directly related to the availability of homes.”76 As the Department has

previously explained, with each move, “treatment is not consistent, nor are services uniform.”77

Rather, “treatment begins anew, time is lost, and progress starts all over.”78 Thus, DHHR has

concluded, the “lack of continuity and level of services hampers the child’s progress,”79 and

“[m]ultiple placements decrease the likelihood of a child achieving his permanency plan.”80

Experts have also linked placement instability to substance abuse, juvenile arrests, poor school

performance, social network disruption, mental health issues, and other executive functioning.81

         Nevertheless, internal reviews by DHHR have found that “[d]ifficult and ‘hard-to-place’

children [in particular] are frequently placed in multiple foster homes, multiple potential adoptive




readers-watchdog/2018/11/26/clarinda-academy-iowa-begins-probe-fights-sex-crimes-found/2057894002/; James
Sparvero, Staffer Fired from Behavioral School for Scratching, Bruising 16-Year-Old Girl, Deputies Say,
CLICKORLANDO.COM (Sep. 25, 2018), available at https://www.clickorlando.com/news/2018/09/25/staffer-fired-
from-behavioral-school-for-scratching-bruising-16-year-old-girl-deputies-say/; Rick Neale, Devereux Viera Staffer
Accused of Striking Girl, 14, FLORIDA TODAY (Nov. 5, 2016), available at https://www.floridatoday.com/story/news/
2016/11/05/devereux-viera-staffer-charged-striking-girl-14/93343094/.
75
    Ex. 17 at D006753, 782 (Initial Design and Implementation Report, 3 rd Quarter, West Virginia Dep’t of Health and
Human Resources (Aug. 2015) (hereinafter “3rd Quarter Report”)).
76
    Ex. 16, 2018 Progress Report at D004783; id.at D004782 (linking “[t]he decline in foster care placement stability
. . . to the use of shelter care and the unavailability of foster care beds”).
77
     Ex. 18 at D005399, 404 (2015 Annual Progress Report, West Virginia Dep’t of Health & Human Resources
(hereinafter “2015 Progress Report”)).
78
    Id.
79
    Id.
80
    DHHR Adoption Policy, § 4.10, Aug. 2020, available at https://dhhr.wv.gov/bcf/policy/Documents/Adoption%20
Policy%20August%202020.pdf (hereinafter “Adoption Policy”).
81
    See ex. 19, at D065690, 849-850 (Follow-Up to the Rural Child Welfare Leaders Meeting, May 2017, Rural Child
Welfare Practice (June 9, 2017) (hereinafter, “Rural Child Welfare Follow-Up”)); Philip A. Fisher, Anne M.
Mannering, Amanda Van Scoyoc & Alice M. Graham, A Translational Neuroscience Perspective on the Importance
of Reducing Placement Instability Among Foster Children, 92 CHILD WELFARE J. 9, 9-10 (2013); Perry, 294 F.R.D.
at 43 (“This sort of shuttling of foster care children through a number of placements can cause psychological harm.”).


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homes, and multiple residential treatment facilities.”82 The instability resulting from Defendants’

failure to secure adequate placements has hounded the named Plaintiffs. While Gretchen has

stayed in a juvenile detention center, five emergency shelter-care settings, four short-term

psychiatric placements, and six group residential care settings,83 Karter has passed through four

emergency shelters, one temporary therapeutic foster home, two long-term psychiatric facilities,

and an out-of-state congregate care facility.84 DHHR has placed Theo, meanwhile, in at least

eleven placements.85

         The urgency of securing more placements could not be lost on Defendants. As the

Washington Post recently reported, “[f]or more than a decade, foster homes and emergency

shelters have been short of beds.”86 In fact, as early as 2002, “the CFSR process indicated that

most children in the foster care cases reviewed did not have permanency and stability in their living

situations.”87 The report specified that the instability followed from “(1) a scarcity of specialized

placements for children with behavioral problems or special care needs and, (2) an inconsistency

in matching children with appropriate foster families or placement settings.”88 Even then, “children

often [were] placed in shelters because there [was] nowhere else to put them and some children

remain[ed] in shelters for long periods of time.”89 After fifteen years, at the time of the next federal

review, Defendants still had not remedied the problem. The 2017 CFSR labeled “the availability




82
   Ex. 18 at D005399, 404 (2015 Progress Report); ex. 8, Expert Report on ADA Subclass at p. 34 (“West Virginia
has a lack of homes that are willing to accept older children, children with severe behavioral issues, and large sibling
groups.”).
83
   Ex. 7, Flory, Getman, and Popchak Report at p. 268.
84
   Id. at p. 233.
85
   Id. at p. 49.
86
   Debbie Cenziper, Emily Corio, Kelly Hooper & Douglas Soule, the Opioid Files, WASHINGTON POST (Oct. 18,
2019), available at https://www.washingtonpost.com/graphics/2019/investigations/west-virginia-opioid-legal-battle-
foster-care/.
87
   Ex. 6 at D003152, 180 (2002 CFSR)).
88
   Id. at D003183.
89
   Id.


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of foster homes” as one of the “areas of greatest need for which services and resources are

lacking.”90 The report called West Virginia’s inactivity to the forefront by observing that “[a]n

effective recruitment plan has not been developed and implemented to meet the increased need for

quality homes in the state.”91 As recently as December 2019, DHHR was not recruiting or

approving new foster homes.92 At the same time, a 2019 Memorandum of Understanding (“MOU”)

between Defendants and the DOJ called only for “a 25 percent reduction from the number of

children living in residential mental health treatment facilities as of June 1, 2015” by 2022.93 Nor

did it require West Virginia to reduce the number of children in in-state residential treatment

facilities.

        DHHR only makes matters worse by effectively discouraging families from volunteering

for the foster care system. Foster care providers have “reported not being treated with respect and

not having their opinions heard or considered.”94

        Of course, Defendants already know that DHHR does not respect foster parents in the

agency process. A 2015 investigation by the DOJ informed the State that “[f]amilies perceive their

interactions with DHHR as more punitive than supportive, undermining the potential to develop

strengths in the home and keep children in the community.”95 Likewise, “many parents report[ed]

that the state did not treat them as a partner in the treatment decision-making process.”96 The 2017

CFSR reached an analogous conclusion: “the needs of foster parents [in West Virginia] are not

consistently assessed and services provided as appropriate.’”97


90
   Ex. 2, 2017 CFSR at D003797-98.
91
   Id. at D003782.
92
   PIP Review at p. 36.
93
   Ex. 20 at D066935, 938-939 (2019 Memorandum of Understanding Between the State of West Virginia and
the United States Department of Justice (May 9, 2019)).
94
   PIP Review at p. 38.
95
   DOJ letter at p. 3.
96
   Id. at p. 11.
97
   Ex. 2, 2017 CFSR at D003782.


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        Whether Defendants’ statewide failure to recruit and retain an adequate array of

appropriate foster placements exposes all West Virginia foster children to a substantial risk of

harm is a common question of law and fact suitable for class treatment, and thus satisfies

commonality.

                          b.       Lack of appropriate case planning

        Child welfare policy in West Virginia recognizes that “[t]he likelihood of achieving

outcomes [in child welfare] is directly related to the appropriateness of case planning.”98 Thus,

“permanency planning efforts should begin as soon as a child enters care”99 and “concurrent

planning should be utilized in an effort to expedite the achievement of permanency for these

children.”100 In practice, however, DHHR has all but abandoned State policy. The Department

does not engage in critical permanency planning or effective case review for the majority of

children in the West Virginia foster care system.

        Defendants avoid proper case planning in part by excluding integral participants from the

placement process, including from participation in multidisciplinary team (“MDT”) meetings.101

As “[c]aregivers have rights related to privacy and due process . . . includ[ing] being informed and

involved,”102 State policy requires that “[s]pecial attention be placed on engaging the family and

the foster parents in the MDT process.”103 Yet, in a 2017 survey, only “28% of foster parents

indicated that they were always notified of MDTs” and only nineteen percent of foster parents

indicated that they “participate[d] with the development of case planning.”104 Thus, DHHR fails


98
   DHHR Youth Services Policy, § 6.1, July 2020, available at https://dhhr.wv.gov/bcf/policy/Documents/Youth
%20Service%20Policy%20July%202020.pdf.
99
   Foster Care Policy at § 1.1; see also Adoption Policy at § 1.2.
100
    Ex. 11, 2015-2019 CFSP at D004013; see also Adoption Policy at § 4.11.
101
    See ex. 21 at D003816, 948 (West Virginia 2019 Child and Family Services Plan (hereinafter “2019 CFSP”)).
102
    DHHR Child Protective Services Policy, § 1.2, July 2020, available at https://dhhr.wv.gov/bcf/policy/Documents
/CPS%20Policy%20July%202020%202nd%20Version.pdf.
103
    Adoption Policy at § 4.9.1.
104
    Ex. 21, 2019 CFSP at D003922.


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to consistently notify “resource parents (foster parents, pre-adoptive parents, and relative

caretakers) . . . about reviews or hearings with respect to a child in their care and their right to be

heard.”105

        Likewise, the 2017 CFSR found that “concurrent plans are viewed too often as consecutive

plans and are not pursued concurrently,”106 and “concurrent goals are not being worked until after

the primary permanency plan has failed.”107 By depriving foster children of adequate case

planning, West Virginia has forced them to move through the system without safe ends in sight.

Children with complex needs suffer most acutely from this failure as addressing their needs

generally depends upon methodical preparation.

        Defendants further evade case planning through inaction outside of the MDT process.

Caseworkers neglect to complete quality comprehensive assessments of the needs of children and

their parents.108 Nor does DHHR contact families to review the progress of case goals.109

Predictably, foster parents have expressed an extreme dissatisfaction with the lack of appropriate

and informational communication between case workers and foster parents. 110 This lack of

meaningful contact between caseworkers and families amounts to an underlying cause of poor

performance for child and family involvement in case planning.111

        The Named Plaintiffs have moved through the West Virginia foster care system without

any cogent plan in place. DHHR engaged in minimal permanency planning for Serena and




105
    Ex. 2, 2017 CFSR at D003794.
106
    Ex. 11, 2015-2019 CFSP at D004013.
107
    Ex. 22 at D049769, 769 (Annual Progress Services Report 2015, West Virginia Dep’t of Health and Human
Resources).
108
    PIP Review at p. 15.
109
    See ex. 11, 2015-2019 CFSP at D004006 (observing “a lack of contact with the family afterwards to [e]nsure that
the safety plan was effective.”); id. at D004025 (“Reviews indicated a low level of contact with parents.”).
110
    PIP Review at p. 39.
111
    Id. at p. 5.


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Dennis.112 These children have shuffled between placements for years without any real possibility

of permanency.113 DHHR has explored permanency plans of adoption for Theo S. and Ace L. but

has failed to take the necessary steps to support and implement those plans.114

        Repeated warnings have not inspired Defendants to change course. For almost two

decades, the Children’s Bureau has cautioned West Virginia against negligent case planning and

against excluding families from the case planning process. The 2002 CFSR identified “a lack of

clear documentation and identification of permanency goals” and “a need for more focus on

diligent efforts to achieve permanency for children.”115 More generally, the same report noted,

“DHHR had not appropriately involved parents or children in the case planning process.”116 The

2009 CFSR also concluded that “[t]he agency did not consistently facilitate the involvement of

children and families in case planning, contrary to State policy.”117 By 2017, “[t]he agency [still]

struggled to make concerted efforts for the goals of timely reunification, discharge to guardianship,

and timely adoption,”118 and “permanency goals were not established timely for children in foster

care in a significant number of cases.”119 The West Virginia 2019 Child and Family Services Plan

most recently observed a “lack of establishment of case plans/goals through engagement of family

members.”120

        All class members are at substantial risk of harm due to Defendants’ failure to engage in

adequate case planning. Indeed, Defendants often fail to include key participants in the MDT



112
    Ex. 7, Flory, Getman, and Popchak Report, at pp. 110, 362.
113
    Id. at p. 110; id at pp. 391-92.
114
    Id. at pp. 63-64; id at pp. 192, 217-18.
115
    Ex. 6, 2002 CFSR at D003157.
116
    Id. at D003160, D003164.
117
    Ex. 23 at D003428, 438 (West Virginia Child and Family Services Review, U.S. Dep’t of Health and Human
Services Administration for Children and Families (May 2009) (hereinafter “2009 CFSR”)).
118
    Ex. 2, 2017 CFSR at D003781.
119
    Id.
120
    Ex. 21, 20219 CFSP at D003860.


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process, prepare concurrent plans, perform necessary assessments, or even develop consistent and

reasonable permanency plans. An absence of consistent caseworker contact only aggravates these

deficiencies. Whether Defendants’ policies and practices related to case-planning thus expose

children to a substantial risk of harm, in violation of their constitutional rights, is a common

question of law and fact that satisfies the commonality requirement.

                          c.       High caseloads and chronic understaffing

        Excessive caseloads prevent caseworkers from ensuring the safety and wellbeing of foster

children.121 DHHR, which has not established a caseload standard,122 counts the cases that a

caseworker carries by family.123 It counts the cases that a caseworker carries by child only after

the termination of parental rights.124

        While the Child Welfare League of America recommends that caseworkers carry between

twelve and fifteen cases, and, for in-custody children, requires that cases be counted by child,125

Defendants have disregarded both standards. As of April 2020, caseworkers across the State

carried eighteen cases on average and also counted cases by family rather than by child in many

instances.126 In some counties, caseworkers carried more than thirty cases on average.127 Such high

caseloads cripple caseworkers from effectively doing their jobs.128




121
    See ex. 8, Expert Report on ADA Subclass at p. 16 (“High turnover, child welfare workers overburdened with high
caseloads, and staff inexperience negatively impact the ability of the agency to assess children’s safety, ensure
appropriate assessments and service provision, and engage families in the casework process.”).
122
    Ex. 24 at p. 2 (Email from Philip Peisch to Marcia Lowry, et al. (June 19, 2020)).
123
    Ex. 25, Traci Dean Data Dep. Tr. at pp. 297-98.
124
    Id. at pp. 297-98.
125
    Sean Hughes & Suzanne Lay, Direct Service Workers’ Recommendations for Child Welfare Financing and System
Reform, CHILD WELFARE LEAGUE OF AMERICA (Jan. 2012), at p. 5.
126
    Ex. 26 at D137153, 153 (Average Caseloads by District (April 10, 2020)).
127
    Id.
128
    Ex. 27 at D060617 (Email from Cheryl Salamacha to Tina Mitchell (April 1, 2016)).


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         The continual understaffing at DHHR has rendered high caseloads inevitable.129 In recent

years, Defendants have averaged an eighteen percent vacancy rate for CPS positions—almost a

fifth of its workforce.130 As of June 2019, the turnover rate for CPS workers remained at twenty-

seven percent.131 And, from 2015 to 2018, caseloads in West Virginia increased by thirty-four

percent.132

         Indisputably, turnover and caseloads have interfered with the ability of staff to act as

primary supports for foster children and families133 and so, according to the 2017 CFSR,

“continue[] to adversely affect outcomes for children and families served by the agency and the

delivery of services.”134 For one, DHHR’s own 2019 Program Improvement Plan concluded,

“[i]nsufficient staff levels directly impact the ability of the agency to assess child safety, ensure

appropriate assessment and service provision, and engage families in the casework process.”135

Excessive turnover and caseloads also deprive children of opportunities to establish stable and

continuous relationships.136 Overwhelmed caseworkers cannot be reached by foster parents,



129
     See ex. 8, Expert Report on ADA Subclass at p. 19 (“High turnover results in increased caseloads for remaining
staff, decreased time available to appropriately assess and manage each case, and disrupted relationships with the
child.”).
130
     Ex. 28 at D005788, 802 (Legislative Audit Report, Dep’t of Health & Human Resources’, Child Protective Services
(Nov. 19, 2019) (hereinafter, “Legislative Audit Report”).
131
     Id.
132
     DHHR to Add 48 Child Protective Services Positions, DEP’T OF HEALTH & HUMAN RESOURCES (March 29, 2018),
available at https://dhhr.wv.gov/News/2018/Pages/DHHR-to-Add-48-Child-Protective-Services-Positions.aspx.
133
     Id.; see also ex. 29 at D064813, 819 (Performance Update, Dep’t of Health & Human Resources (January 2015)
(hereinafter “2015 PERD”) (“Retention goals are important because they can help secure an experienced and
knowledgeable workforce.”); Neal, 43 F.3d at 62 (“Because of the dearth of trained caseworkers, . . ., DHS (allegedly)
fails to investigate reports of abuse and neglect promptly or adequately and fails to reliably provide the children in its
care with written case plans, with appropriate placements, with proper care while in custody, and with periodical
dispositional hearings.“); Perry, 294 F.R.D. at 42 (“a higher caseload means that a caseworker can devote less time
and energy to each case, and naturally class members' safety is affected by the amount of time and energy their
caseworkers can devote to their respective cases.”); Perry, 294 F.R.D. at 44 (“A caseworker that is so overburdened
that she cannot visit the children she is responsible for to keep apprised of their well-being, or if she cannot build
enough of a rapport to do so effectively, cannot fulfill this function.”).
134
     Ex. 2, 2017 CFSR at D003781.
135
     PIP Review at p. 13.
136
     Ex. 19, Rural Child Welfare Follow-Up at D065728; ex. 8, Expert Report on ADA Subclass at p. 20 (“high turnover
. . . means lower quality relationships between children and families and their caseworkers”).


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kinship caregivers, or foster children. In November 2019, a post audit report by DHHR noted that

“CPS only met the required time frame for a face-to-face meeting with a child involved in alleged

abuse or neglect cases approximately 50% of the time.”137 The report concluded, “it is apparent

that CPS has struggled for over 20 years with meeting statutory time frames for making initial

contact with alleged child victims of abuse and/or neglect.”138 Indeed, the case file of Karter W.

“contains no case record or information about [him] during this period including no record of

caseworker visits.”139 And, the 2019 Program Improvement Plan stated, “[t]he lack of contact

negatively impacts safety related timeframes, placement stability, achievement of permanency,

and well-being outcomes.”140 More broadly, the CFSR had emphasized to DHHR as far back as

2009, high turnover leads to “inconsistency in practice throughout the child welfare system.”141

         Defendants have long known about the need to reduce caseloads and expand the

caseworker workforce. A 2008 assessment of DHHR concluded that “[s]taff retention in all regions

is an ongoing issue within the Department, and the resulting staff shortages have negatively

impacted worker visits with children.”142 Audits in 2013 likewise found that “turnover rates

approaching or exceeding 50 percent for the trainee position [were] likely creating functional

difficulties for the agency,”143 and the high rate was “likely inhibiting the agency from achieving



137
    Ex. 28, Legislative Audit Report at D005792.
138
    Id. at D005800.
139
    Ex. 7, Flory, Getman, and Popchak Report at p. 241.
140
    PIP Review at p. 15; ex. 21, 2019 CFSP at D003860 (“[N]either the quality nor the quantity of caseworker contacts
with children and parents is sufficient to ensure child safety and achieve case goals.”); ex. 8, Expert Report on ADA
Subclass at p. 22 (“DHHR caseworkers have experienced difficulty in making all the contacts that the standards of
good practice require, placing children with disabilities at risk of harm.”).
141
    Ex. 23, 2009 CFSR at D003431.
142
    Ex. 30 at D003566, 682 (WV Statewide Assessment, Dep’t of Health & Human Resources (2008)) (hereinafter,
“2008 Assessment”); ex. 31, Declaration and Expert Report of Beverly Johnson, L.C.S.W., (Aug. 12, 2020)
(hereinafter “Expert Report on Kinship Subclass”) at p. 17 (“High staff turnover rates lead to inconsistency in worker
contact and case management for families that can adversely affect placement stability and timeliness to
permanency”).
143
    Ex. 32 at D060062, 080 (Agency Review, West Virginia Legislative Auditor Performance Evaluation & Research
Division (Aug. 2013)) (hereinafter “2013 PERD”).


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an effective child protective services workforce.”144 In 2019, a State study repeated the warning:

“[w]ithout manageable caseloads, agencies cannot produce positive outcomes for the majority of

their children and families.”145

        Defendants, deliberately disregarding these findings, have failed to take meaningful steps

to strengthen their workforce. The 2013 PERD had indicated that Defendants do “not have

retention goals for CPS workers for the State, regional or district levels,”146 and “[t]here is not a

sense of urgency by the BCF in achieving a CPS workforce capable of conducting timelier

investigations of child abuse allegations.”147 And, as “the agency still has not addressed th[ese]

primary concerns,”148 “[d]uring both federal fiscal years 2015 and 2016, districts continue[d] to

list staff turnover as a barrier to achieving better outcomes for children and families.”149

        The minor “efforts [in West Virginia] to recruit and retain DHHR staff” have “experienced

limited success.”150 For example, West Virginia created forty-eight additional positions for

caseworkers in March 2018.151 As of January 2018, 213 child welfare positions remained

vacant.152 DHHR also accepts new caseworkers without field experience or education beyond a

Bachelor of Arts degree. A 2019 review identified only thirty-one percent of a sample of CPS

workers as holding a four-year social work degree.153 While DHHR does offer training, excessive

workloads frequently prevent staff from attending.154 Defendants also do not screen applicants for




144
    See ex. 32, 2013 PERD at D060069.
145
    Ex. 33 at D005828, 835 (Study of Kinship Care Families, Oct. 2019 (hereinafter “2019 Kinship Study.”)).
146
    Ex. 32, 2013 PERD at D060078.
147
    Id. at D060069.
148
    Ex. 29, 2015 PERD at D005643.
149
    Ex. 16, 2018 Progress Report at D004750.
150
    Ex. 2, 2017 CFSR at D003781.
151
    DHHR to Add 48 Child Protective Services Positions, supra n. 132.
152
     Hannah Graham, Lawmakers Eye Foster Care Improvements, WRAP-UP (Jan. 25, 2019), available at
http://www.wvlegislature.gov/Wrapup/2019/issue_02/wrapup.cfm.
153
    Ex. 28, Legislative Audit Report at D005802.
154
    Ex. 2, 2017 CFSR at D003796.


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criminal backgrounds or drug use.155 And, a 2019 Legislative Audit found, “[b]y not repeating the

criminal background check every five years, DHHR increases its risk of continuing to employ a

person that is not appropriate to be working with children and youth, and therefore, not suitable

for the position of CPS worker.”156 Indeed, State policy recognizes that “[t]he evaluation and

background investigation of facilities and people who care for adults and children is one of the

most important functions of the West Virginia Department of Health and Human Resources.”157

          All class members depend upon caseworkers for safety and security. The failure to support,

train, and retain caseworkers risks the safety and security of all class members. Accordingly,

Defendants’ system-wide policies and practices place all children in West Virginia’s child welfare

system at a substantial risk of harm. Such common questions of law and fact satisfy the

commonality requirement.

                 3.      Substantial evidence of commonality exists with respect to the ADA
                         Subclass

          The common questions of fact and law raised by all members of the ADA Subclass, each

of which alone satisfies the commonality requirement for the ADA Subclass, and are capable of

resolution in “one stroke” on a classwide basis, include the following:

      •   Whether Defendants deprive Plaintiffs of the ADA Subclass necessary and appropriate
          services and treatment to make them as able as their non-disabled peers to access an array
          of community-based placements and services to ensure access to the least restrictive
          environment;
      •   Whether Defendants have a practice of unnecessarily placing youth with disabilities into
          institutional settings and denying them access to community-based treatment; and
      •   Whether Defendants have a practice of failing to build and maintain an adequate
          infrastructure of mental health providers and other therapeutic service providers capable of
          meeting the needs of ADA Subclass members.



155
    Ex. 28, Legislative Audit Report at D005794, D005815.
156
    Id. at D005816.
157
    Ex. 34 at D023195, 197 (Crime Identification Bureau (CIB) Background Checks, Policy Manual, Bureau for
Children and Families (March 15, 2015)).


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         Plaintiffs allege that Defendants’ policies and practices expose all members of the ADA

Subclass to a substantial risk of harm, in violation of their rights under the Constitution and the

ADA. While each child in the ADA Subclass may have unique physical and mental health needs,

placement       needs,     or    safety     needs,      “[i]n    a    lawsuit     wherein       individuals      with

varying disabilities challenge policies and practices that affect all of the putative class members,

factual differences regarding their disabilities does not defeat commonality.” Bumgarner, 276

F.R.D. at 456.158

         Federal law forbids child welfare agencies from discriminating against children with

disabilities.159 The United States Department of Health and Human Services (“DHHS”) and the

DOJ unambiguously require that children with disabilities have meaningful and equal access to all

child welfare services, programs, and activities, including assessments, case planning and service

planning, provision of in-home services, and foster care.160

         Protecting children with disabilities begins with timely and thorough assessments of their

needs.161 According to the DOJ, “[t]he child welfare agency’s obligation to ensure individualized

assessments applies at the outset and throughout any involvement that an individual with a

disability has with the child welfare system.”162 The ADA requires that “assessments be

individualized”; “[a]n individualized assessment is a fact-specific inquiry that evaluates the

strengths, needs, and capabilities of a particular person with disabilities based on objective


158
     See also Holsey, 743 F.2d at 217 (“Despite the presence of individual factual questions, the commonality criterion
. . . is satisfied by the common questions of law presented.”).
159
     42 U.S.C. § 12132.
160
     U.S. Dep’t of Health & Human Servs., U.S. Dep’t of Justice, Protecting the Rights of Parents and Prospective
Parents with Disabilities: Technical Assistance for State and Local Child Welfare Agencies and Courts under Title II
of the Americans with Disabilities Act and Section 504 of the Rehabilitation Act (August 2015), available at
https://www.ada.gov/doj_hhs_ta/child_welfare_ta.html#_ftnref12.
161
     Ex. 8, Expert Report on ADA Subclass at p. 14 (“A thorough assessment of the child and his or her situation is
vital to ensuring placement stability, timely permanency, and appropriate services that identify, manage, and treat
disabilities.”).
162
     Protecting the Rights of Parents and Prospective Parents with Disabilities, supra n. 160.


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evidence, personal circumstances, demonstrated competencies, and other factors that are divorced

from generalizations and stereotypes regarding people with disabilities.”163 While, as DHHR has

already recognized, “[e]ven youth with special needs thrive when their needs can be safely met in

a family setting with people who care about them,”164 children with disabilities remain especially

vulnerable within the child welfare system. DHHR has found them at least three times more likely

than peers to suffer from abuse or neglect.165 Foster children with disabilities are also more likely

to experience sexual abuse because isolating placements (such as group homes, residential

facilities, and hospitals), allow easy access by others.166

         While DHHR policies conform with the requirements of federal law, statewide practices

in West Virginia routinely violate the rights of children in the ADA Subclass.167 Defendants fail

to assess adequately their needs, engage in appropriate case planning, maintain placement arrays

with sufficient therapeutic options, or provide timely and adequate access to medical, behavioral,

mental and other health services.

         Primarily, foster children in West Virginia do not have ready access to community-based

mental and behavioral health services and professionals.168 The DOJ has already notified

Defendants that “the State does not inform [foster families] how or where to access services; there

are not enough services or qualified staff available; or services are not available unless the child is




163
    Id.
164
    Ex. 17, 3rd Quarter Report at D006756.
165
    The Risk and Prevention of Maltreatment of Children with Disabilities, U.S. Department of Health and Human
Services, Children’s Bureau (Jan. 2018), at p. 1., available at https://www.childwelfare.gov/pubPDFs/focus.pdf.
166
    Id.
167
    See ex. 8, Expert Report on ADA Subclass at p. 5 (“DHHR has not effectively implemented their programs,
policies, procedures, and practices to afford children with disabilities in their care with fair and equal access to services
and supports.”).
168
    DOJ Letter at pp. 2-3; ex. 8, Expert Report on ADA Subclass at p. 5 (“DHHR fails to provide access to an adequate
array of community-based services, programs, and activities that are readily accessible to and usable by children with
disabilities”).


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in DHHR custody.”169 In 2018, a mere ten percent of counties reported that Intensive Home-Based

Services remained sufficiently available.170 Therapeutic foster homes, which specialize in caring

for children with emotional and behavioral needs, are scant.171 Moreover, foster children with a

mental health diagnosis must remain on long waiting lists for services. 172 Here, an expert witness

for Plaintiffs observed, “[a]s children wait for placements, they often do not receive the intensive

mental health treatment needed to address their mental health needs.”173

         Ultimately, the flaws plaguing West Virginia have rendered institutionalization as the sole

source of plausible mental health treatment for its foster children. 174 Thus, for mental health

treatment, the “default service in West Virginia is institutionalization.”175 Unsurprisingly, as of

2015, the percentage of West Virginia youth in segregated residential treatment facilities surpassed

the numbers of forty-six other states.176

         Defendants substantially risk the wellbeing of foster children with disabilities through

institutionalization. DHHR’s own policy admits that “[e]xtended stays in out of home care can

have negative and lasting developmental effects on child development.”177 The DOJ has likewise

alerted Defendants that “[u]nnecessary confinement in a segregated residential treatment facility

‘severely diminishes the everyday life activities of individuals, including family relations, social

contacts, work options, economic independence, educational advancement, and cultural


169
    Id. at p. 14.
170
    Ex. 16, 2018 Progress Report at D004983.
171
    Id. at D004988; ex. 17, 3rd Quarter Report at D006855 (“West Virginia does have a need for more treatment or
therapeutic foster care providers as well as traditional foster care homes.”).
172
    Ex. 16, 2018 Progress Report at D004866.
173
    Ex. 8, Expert Report on ADA Subclass at p. 35.
174
    DOJ Letter at p. 8.; ex. 8, Expert Report on ADA Subclass at p. 30 (“West Virginia’s failure to provide in-home
and community-based services places children with mental health conditions who currently live in the community at
risk of unnecessary institutionalization.”); ex. 8, Expert Report on ADA Subclass at p. 6 (“DHHR has failed to ensure
availability of and placements in the most integrated, least restrictive setting appropriate to the needs, safety, and well-
being of children with disabilities, and instead unnecessarily relies on institutional settings.”).
175
    DOJ Letter at p. 8.
176
    Id. at p. 6.
177
    Adoption Policy at § 4.10.


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enrichment.’”178 The State has itself recognized that “[c]ongregate care [should] be understood

and utilized only as a short-term intervention.”179 For, the DOJ advised, “[t]he unnecessary

segregation of children with mental health conditions violates their civil rights and wastes the

State’s fiscal resources.”180

         DHHR also violates the ADA by failing to individualize services for children with

disabilities.181 This failure follows chiefly from the lack of available and accessible quality services

statewide.182 Indeed, MDTs often select placements based on which segregated residential

treatment facility has an available bed.183 It is not surprising that an internal review by DHHR

found that “[m]any youth are [also] placed into congregate care due to a lack of a comprehensive

universal assessment early after initial referral/contact.”184 Foster children with mental health

conditions placed in restrictive settings remain in those settings for reasons unrelated to their

individual     mental      health conditions.185         The     DOJ      concluded that         such     “prolonged

institutionalization is partly the result of regimented, non-individualized requirements that create

programmatic barriers to discharge.”186




178
    DOJ letter at p. 17 (citing Olmstead v. L.C. ex rel. Zimring, 527 U.S. 581, 601 (1999)).
179
    Ex. 14, 2015 2Q Safe at Home Report at D058227.
180
    DOJ Letter at p. 3; Radaszewski v. Maram, 383 F.3d 599, 609 (7th Cir. 2004) (“[A] State may violate Title II when
it refuses to provide an existing benefit to a disabled person that would enable that individual to live in a more
community-integrated setting.”).
181
    Ex. 8, Expert Report on ADA Subclass at p. 26 (“This lack of comprehensive services pushes DHHR to rely on
what is available instead of tailoring services to meet the unique needs of the child”).
182
    Ex. 2, 2017 CFSR at D003798.
183
    DOJ Letter at p. 7.
184
    Ex. 35 at D055066, 074 (Initial Design and Implementation Report, 3rd Quarter, West Virginia Dep’t of Health
and Human Resources (Aug. 14, 2015)).
185
    Id. at p. 12; ex. 8, Expert Report on ADA Subclass at p. 38 (“[A] lack of appropriate placements results in children
being placed out-of-state and in settings that are not remotely designed to meet their needs and do not allow for
inclusive classroom learning and schooling.”); ex. 8, Expert Report on ADA Subclass at pp. 40-41 (“West Virginia
children with mental health conditions who are placed in restrictive settings remain in those settings for reasons
unrelated to their individual mental health conditions.“). In fact, “the diagnoses reported for placements [are] not
always accurate, therefore increasing the likelihood for misplacement of children.” Ex. 8, Expert Report on ADA
Subclass at p. 42.
186
    DOJ Letter at p. 12.


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        The named Plaintiffs in the ADA Subclass have not received the necessary mental and

behavioral health services. For example, Karter—who suffers from disruptive mood dysregulation

disorder, attention-deficit/hyperactivity disorder, depression, and self-harming behaviors—has yet

to experience “implementation of effective treatment to meet his needs for stability and

permanency.”187

        On at least seven separate occasions, Defendants have received formal warnings that

DHHR does not adequately serve foster children with disabilities. The 2002 CFSR identified

“shortages of mental health services in many areas of the State,”188 and “lack of specialized

placement resources for children with special needs.”189 The shortage of services required children

to remain on long waiting lists.190 Like now, “[c]hildren requiring placements to address [mental

health] problems usually [needed to] be placed outside of the State.”191 A 2008 assessment later

indicated that West Virginia had disregarded the earlier criticisms. The assessment determined that

“[m]eeting the children’s mental health needs [was] a challenge throughout West Virginia as there

continue[d] to be deficiencies in the array, quality and quantity of treatment services.” 192 As

“recruitment of specialized foster homes remain[ed] an issue,”193 the evaluators found that

“children [with disabilities were] often placed out of state to meet their treatment goals.” 194 Only

two years later, the CFSR likewise found “that there are children with mental health needs who

are not receiving services due in part to a lack of adequate assessment and a lack of available

services.”195 In 2015, the DOJ concluded that West Virginia violated the ADA by failing to provide


187
    Ex. 7, Flory, Getman, and Popchak Report at p. 248.
188
    Ex. 6, 2002 CFSR at D003162.
189
    Id. at D003166.
190
    Id. at D003226.
191
    Id.
192
    Ex. 30, 2008 Assessment at D003695.
193
    Id. at D003630.
194
    Id. at D003639.
195
    Ex. 23, 2009 CFSR at D003513.


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“services to children with significant mental health conditions in the most integrated settings

appropriate to their needs.”196 The investigation had found that “high rates of placement in

segregated residential treatment facilities, including out-of-state placement, [existed] because

DHHR ha[d] not developed a sufficient array of in-home and community-based services.”197 A

2018 audit also “noted a lack of homes that are willing to accept children with severe behavioral

issues, [or] developmental disabilities.”198 West Virginia’s 2019 Child and Family Service Plan

most recently recited the failings that have endured in Defendants’ care of foster children with

disabilities. The audit listed the “[b]arriers to children receiving behavioral health assessments

and/or services [as]: lack of contact by agency staff with children in non-placement cases, lack of

mental health providers within a district, the focus on one child and failing to assess all children

in the home, and limited follow-up on behavioral health issues when a child is reunified.”199 As of

at least May 2015, BCF had already “identified the lack of treatment foster care and in-home

services and a weak children's mental health system as contributing factors to the high use of

congregate care.”200

        The uniformity of the criticisms over almost twenty years establishes that Defendants have

not taken meaningful action to correct their failures regarding the treatment of foster children with

disabilities. Any modifications to the system have been trivial, and “have not significantly reduced

the number of children unnecessarily placed in segregated residential treatment facilities.”201 For

example, the DOJ has found, “pilot programs, small initiatives or programs targeted at sub-groups

. . . do not adequately ensure that all children who rely on DHHR for mental health care are not



196
    DOJ Letter at p. 2.
197
    Id.
198
    Ex. 16, 2018 Progress Report at D004783.
199
    Ex. 21, 2019 CFSP at D003864.
200
    Ex. 14, 2015 2Q Safe at Home Report at D058236.
201
    DOJ Letter at p. 17.


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unnecessarily placed in segregated residential treatment facilities.”202 On these grounds, the federal

agency stated, “the State has failed to use these reports to develop a comprehensive, cross-system

plan to address high levels of unnecessary institutionalization.”203 In particular, DHHR “has not

developed comprehensive, community-based services for children with mental illness, including

wraparound supports that are the standard of care for children with significant mental health

needs.”204 In fact, “[d]ata indicates that the agency declined [between 2011 and 2015] in providing

for the mental health needs of children.”205

          Defendants’ system-wide policies and practices place all members of the ADA Subclass at

a substantial risk of harm, raising common questions of law and fact and therefore satisfying the

commonality requirement.206

                  4.       Substantial evidence of commonality exists with respect to the Kinship
                           Subclass

          The common questions of fact and law raised by all members of the Kinship Subclass, each

of which alone satisfies the commonality requirement for the Kinship Subclass, and are capable of

resolution in “one stroke” on a classwide basis, include the following:

      •   Whether Defendants deprive Plaintiffs of the Kinship Subclass of necessary home safety
          assessments, case management and other services, and permanency planning.

          Plaintiffs allege that all members of the Kinship Subclass are exposed to a substantial risk

of harm as a result of Defendants’ policies and practices, in violation of their rights under the

Constitution and State policy.



202
    Id. at p. 19.
203
    Id. at p. 18.
204
    Id. at pp. 2-3.
205
    Ex. 16, 2018 Progress Report at D004867.
206
    Ex. 8, Expert Report on ADA Subclass at pp. 2-3 (“DHHR violates reasonable professional standards in its
provision of care and services to West Virginia foster children with disabilities. As a result, DHHR fails to meet the
needs of children with disabilities who are in the state’s custody, putting them at substantial risk of harm beyond the
trauma they have already experienced.”).


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         West Virginia depends upon kinship placements to care for around fifty percent (3,713) of

the State’s foster care population,207 although only sixty percent of these placements are licensed

by DHHR.208 Indeed, the total number of kinship placements in West Virginia rose 136 percent

between 2011 and 2017.209 In 2017, DHHR observed that “DHHR is not recruiting or approving

new foster homes but rather is focused on kinship homes and re-evaluations.”210 The typical foster

care stipend is available only to kinship caregivers who become licensed. 211 By contrast,

uncertified kinship placements only receive TANF funding, “which is usually one-third to one-

half the foster care payment.”212 The licensing process for kinship caregivers is identical to the

licensing process for traditional foster homes.213 For example, caregivers must participate in

training,214 and “the child's worker is still required to complete a general safety and well-being

check of the relative home.”215 When kinship caregivers choose not to become licensed, “the

child’s worker is still required to complete a general safety and well-being check of the relative

home.”216 In either instance, caseworkers must contact the child on a regular basis to ensure the

child’s safety and wellbeing.217




207
    2020 Placements Report.
208
    Id.
209
    Taylor Stuck, With Kinship Care Rising, More Support Needed, Coal Valley News (Nov. 20, 2019), available at
https://www.coalvalleynews.com/news/with-kinship-care-rising-more-support-needed/article_e356712f-b563-5033-
9555-e6d7a99f1a33.html.
210
    Ex. 2, 2017 CFSR at D003800.
211
    Ex. 33, 2019 Kinship Study at D005833.
212
    Ex. 31, Expert Report on Kinship Subclass at p. 14; see also ex. 36, Kendra Boley-Rogers Kinship Dep. Tr., 105:9
– 24 (noting that blood relatives receive TANF funding, but kinship providers who have no blood relation receive the
TANF rate, “but it is issued to the family through a demand payment each month”).
213
     Ex. 33, 2019 Kinship Study at D005833. Under State policy, “all relative caretakers must meet the same
certification standards as all foster/adoptive parents.” Adoption Policy at § 4.3; see also Foster Care Policy at § 2.5.2.
214
    Ex. 33, 2019 Kinship Study at D005840.
215
    Id. at D005833.
216
    Id.
217
    Foster Care Policy at § 5.2.


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         Yet Defendants regularly provide foster children in kinship placements with care well

below the formal guidance.218 For one, a 2019 external report found, “[e]ngagement with

relative/kinship families tends to be completed in a checklist format, which does not facilitate a

case-by-case approach to the homestudy.”219 For another, as a corporate designee of DHHR

testified, DHHR sometimes waives the training requirement for kinship caregivers. 220

         It is also “not unusual that a relative/kinship caregiver will not see a caseworker after the

original placement.”221 Plaintiffs’ expert on the Aging Out Subclass reports that around “50% of

627 certified kin and foster caregivers in West Virginia had been visited by a DHHR worker

monthly, and more than 40% were first visited after three months or longer, with 40% of these

visits completed after six months.”222 However, as Plaintiffs’ expert witness on the ADA subclass

has stated, “without caseworker contact, the child’s safety and well-being are not regularly

monitored, the child’s needs are not adequately and regularly assessed, and the child is less likely

to be referred to necessary services.”223 And so, “[i]f the relative/kinship caregiver does not self-

advocate, or [is not] advised on how to self-advocate, there is a lack of opportunity for the

relative/kinship caregiver to seek assistance or supports.”224




218
    Ex. 21, 2019 CFSP at D003888 (“Other necessary services for children and families that were also noted as lacking
included . . . kinship family support services.”); ex. 31, Expert Report on Kinship Subclass at p. 9 (“there is concern
regarding whether DHHR is conducting these required homestudies and safety checks on a consistent basis across the
state.”).
219
    Ex. 1, Kinship Care Strengths Assessment at D139312.
220
    Ex. 36, Kendra Boley-Rogers Kinship Dep. Tr., 93:21 – 94:6; 147:22-148:14. This designee further testified that
DHHR regularly uses waivers when certifying kinship placements – although the use of waivers differs from region
to region. Ex. 36, Kendra Boley-Rogers Kinship Dep. Tr., 199:16 – 21; 200:20-201:5; 202:22 – 203:2; 145:9-15
(explaining that results of a criminal background check can be waived in order to certify a kinship placement); see
also ex. 31, Expert Report on Kinship Subclass at p. 9 (stating that the March 2019 Kinship Care Strengths
Assessment, which evaluated DHHR’s kinship practices, “noted inconsistent use of waivers in approving kinship
homes”).
221
    Id. at D139310.
222
    Ex. 31, Expert Report on Kinship Subclass at p. 10.
223
    Id.
224
    Ex. 1, Kinship Care Strengths Assessment at D128938.


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        Children in uncertified kinship homes especially suffer a heightened risk of substandard

care. As of December 2019, 1,447 children remained in uncertified homes.225 As Plaintiffs’ expert

has emphasized, “[t]here is growing concern that this practice of diverting children to uncertified

foster homes denies them similar services, especially financial supports, and exposes them to

[more] potential safety risks than those in certified foster families.”226

        Overall, kinship caregivers have identified a number of needs that DHHR has failed to

meet. For example, the 2019 CFSP found that DHHR issues caregiver payments inconsistently,

fails to meet the needs of both the families and children, and does not adequately link caregivers

to appropriate services.227 A 2019 internal study also warned that DHHR failed to provide

sufficient training to kinship caregivers. The study specifically noted that “[t]raining locations and

schedules are restrictive in meeting the needs of relative/kinship caregivers within the licensing

time period,” the available training is “designed . . . for traditional foster parents” rather than

kinship caregivers, and no “clearly defined coordination of the training between DHHR and the

Social Worker Education Consortium” existed.228 Dennis C. especially suffered the second-rate

care that has defined kinship placement in West Virginia. Upon placing Dennis with his step-

grandmother, DHHR neglected to offer supportive services. Without supportive services, the

kinship placement soon disrupted.229

        Defendants’ system-wide policies and practices place all members of the Kinship Subclass

at a substantial risk of harm, raising common questions of law and fact and therefore satisfying the

commonality requirement.




225
    Ex. 31, Expert Report on Kinship Subclass at p. 7.
226
    Id.
227
    Ex. 21, 2019 CFSP at D003922.
228
    Ex. 33, 2019 Kinship Study at D005855.
229
    Ex. 7, Flory, Getman, and Popchak Report, at pp. 381-82, 397-98.


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                 5.      Substantial evidence of commonality exists with respect to the Aging-
                         Out Subclass

          The common questions of fact and law raised by all members of the Aging Out Subclass,

each of which alone satisfies the commonality requirement for the Aging Out Subclass, and are

capable of resolution in “one stroke” on a classwide basis, include the following:

      •   Whether Defendants deny members of the Plaintiffs’ Aging Out Subclass skills and
          resources necessary to learn to live independently, and providing them with necessary
          training, skills, and assistance in securing appropriate housing upon discharge; and
      •   Whether Defendants offer supports and case worker resources adequate to ensure that
          foster children fourteen years or older receive transition planning to ensure children that
          age out of the system into adulthood have adequate planning and resources to meet future
          housing, employment, educational, and other social needs.

          The Aging Out Subclass seeks to represent “transition-aged” youth, who are exposed to a

substantial and disproportionate risk of harm by Defendants’ policies and practices toward older

children in their care as a whole. Adolescents compose an increasing portion of the foster care

population in West Virginia. As of 2019, the State’s rate for entry of adolescents ages fourteen to

seventeen amounts to 14.2 per 1,000 children.230 This rate significantly surpasses the national

average of 2.8 per 1,000 children.231 Plaintiffs allege that all members of the Aging Out Subclass

are exposed to a substantial risk of harm as a result of Defendants’ policies and practices, in

violation of their rights under the Constitution and federal law.

          Federal law and State policy each require DHHR to provide distinct services to youth age

fourteen or older.232 Youths “must be taught the skills needed to become a successful, self-




230
    Kristin Sepulveda & Sarah Williams, Older Youth in Foster Care Need Support to Make a Successful Transition
to Adulthood, CHILD TRENDS (May 7, 2019), available at https://www.childtrends.org/older-youth-in-foster-care-
need-support-to-make-a-successful-transition-to-adulthood.
231
    Id.
232
    Fostering Connections to Success and Increasing Adoptions Act of 2008, Pub. L. No. 110-351, 122 Stat. 3949
(2008); Foster Care Independence Act of 1999, Pub. L. No. 106-169, 113 Stat. 1822 (1999); Youth Transitioning,
Social     Services   Manual    (August     2020)     (hereinafter “Youth    Transitioning”),   available     at
https://dhhr.wv.gov/bcf/Documents/YTPolicy.pdf.


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sufficient adult,”233 and caseworkers must design individualized learning and transition plans to

ensure that the youth receives the services necessary to achieve independence.234 Necessary

services include both vocational services and training such as in money management, household

maintenance, transportation, legal issues, health, community resources, housing options, personal

hygiene, employment readiness, and educational assistance.235

         DHHR appears to have abandoned its obligation to prepare adolescents to age out of the

foster care system. Caseworkers “generally lack the knowledge and/or time to explore available

resources such as free computers for foster children who are graduating from high school.” 236

Studies have also “noted both an abundance of inappropriate concurrent permanency plans and a

lack of preparation for independence for older children.”237 Instead, Defendants often resort to

“Independent Living” as “the ‘catch all’ for all older youth, whether or not the goal was

appropriate.”238 Ultimately, DHHR institutionalizes seventy-one percent of foster children

between the ages of twelve and seventeen.239 A DHHR corporate designee nonetheless testified

that she did not know whether the institutions provide independent living services.240 The designee

also testified that, while DHHR encourages agencies to recruit foster parents specifically for

transition age youth, she was unable to determine whether the efforts were successful.241



233
    Foster Care Policy at § 1.6; see also Adoption Policy at § 10.9.
234
    See Youth Transitioning at p. 2.
235
    Id. at pp. 10-12; ex. 11, 2015-2019 CFSP at D004130.
236
    Ex. 30, 2008 Assessment at D003650.
237
    Id. at D003635.
238
    Ex. 11, 2015-2019 CFSP at D004013.
239
    DOJ Letter at p. 6. DHHR also admits to institutionalizing at least half of youth over the age of thirteen. Ex. 37,
Carla Harper Aging Out Dep. Tr., 268:6 – 12; 268:16 – 22 (noting “we are all concerned about” institutionalizing so
many adolescents). The Department places the remaining half of youth over the age of thirteen in kinship care – where,
DHHR admits, “support in those kinship homes is not great.” Ex. 37, Carla Harper Aging Out Dep. Tr., 272:11 – 13.
240
    Ex. 37, Carla Harper Aging Out Dep. Tr., 182:10 – 18; 183:5 – 10 (admitting it is “possible” that none of the out-
of-state residential facilities provide independent living services); 189:3 – 19 (stating that she does not know whether
out-of-state facilities provide career preparation services); 192:15 – 193:8 (stating that she does not know if
institutional providers provide transition age youth financial management services).
241
    Ex. 37, Carla Harper Aging Out Dep. Tr., 266:22 – 267-4.


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        West Virginia’s failure to prepare children to age out of foster care has both immediate and

long-term consequences.242 Youth adjust to adulthood without education, life skills, or supportive

adult relationships. The statistics and studies demarcating their fates are stark. In 2020, the

National Conference of State Legislatures reported that, upon aging out of care, twenty percent of

youth were immediately homeless, only fifty-eight percent had graduated high school by age

nineteen, twenty percent still did not have a GED or high school diploma by age twenty-six,

twenty-five percent were involved in the criminal justice system within two years of leaving care,

and nearly eighty percent of women became pregnant by age twenty-six.243 The National Foster

Youth Institute similarly reported in 2017 that only fifty percent of foster children who age out of

care “will have some form of gainful employment by the age of 24,” twenty-five percent of

children who age out of care suffer from Post-Traumatic Stress Disorder, and “[t]here is less than

a 3% chance for children who have aged out of foster care to earn a college degree at any point in

their life.”244

        The Named Plaintiffs have suffered irreparable harm from Defendants’ failure to prepare

them to transition out of the foster care system. For education, Gretchen relies on self-guided

programs that progress without a teacher at her side.245 DHHR has also taken few steps to ensure

that she acquires any independent living skills.246 Garret likewise has not had vocational or life

skills training.247 Numerous moves have caused Ace and Dennis to receive similarly fragmented



242
    See ex. 10, Expert Report on Aging Out subclass at p. 19 (“Given DHHR’s heavy reliance on congregate care and
congregate care’s documented poor outcomes, it is not surprising that West Virginian foster system alumni would be
ill-prepared for adulthood when they age out of care.”).
243
    Older Youth Housing, Financial Literacy and Other Supports, National Conference of State Legislatures (last
visited Aug. 26, 2020), available at https://www.ncsl.org/research/human-services/supports-older-youth.aspx.
244
    Aging Out of Foster Care, National Foster Youth Institute (May 26, 2017), available at https://www.nfyi.org/51-
useful-aging-out-of-foster-care-statistics-social-race-media/.
245
    Ex. 7, Flory, Getman, and Popchak Report at p. 312.
246
    See generally id. at pp. 267-322.
247
    Id. at 455.


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and ineffectual educations.248 Dennis, who is seventeen years old, reads at a third grade level, and

DHHR has not equipped either youth to achieve stable and sustaining lives upon aging out into

adulthood.249

         Defendants’ system-wide policies and practices place all members of the Aging Out

Subclass at a substantial risk of harm, raising common questions of law and fact and therefore

satisfying the commonality requirement.250

         C.       The Claims of Named Plaintiff Children Are Typical

                  1.       The typicality standard

         Named Plaintiffs’ assertions in this action are “typical of the claims . . . of the class” as

required by the Federal Rules. Fed. R. Civ. P. 23(a)(3). “The threshold requirements of . . .

typicality are not high”. Brown, 576 F.3d at 153 (“Fed. R. Civ. P. 23(a) requires only that resolution

of the common questions affect all or a substantial number of the class members. Allegations of

similar discriminatory [] practices . . . satisfy the . . . typicality requirements of Rule 23(a)”). Here,

“[t]he essence of the typicality requirement is captured by the notion that, as goes the claim of the

named plaintiff, so go the claims of the class.” Deiter v. Microsoft Corp., 436 F.3d 461, 466 (4th

Cir. 2006) (internal quotation marks omitted); see also In re NII Holdings, Inc. Sec. Litig., 311

F.R.D. 401, 406 (E.D. Va. 2015) (typicality is “designed to ensure that the class representative[s’]

interests are sufficiently aligned with those of the other class members.”). In other words, by

prosecuting their own case, the class representatives “tend to advance the interests of the absent

class members.” Deiter, 436 F.3d at 466.




248
    Id. at p. 198, 208; id. at pp. 378, 386-87.
249
    Id. at p. 389.
250
    Ex. 10, Expert Report on Aging Out Subclass at p. 22 (“Based on current policies, practices, and outcomes, West
Virginia DHHR operates a system that fails to meet its stated goals for children, with its pattern of failing to address
safety, permanency, and well-being of transition age youth.”).


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       In the Fourth Circuit, class representatives establish typicality by belonging to the class in

question “and possess[ing] the same interest and suffer[ing] the same injury as the class members.”

In re Titanium Dioxide Antitrust Litig., 284 F.R.D. 328, 339 (D. Md. 2012) (quoting Deiter, 436

F.3d at 466). This standard does not require “members of the class [to] have identical factual and

legal claims in all respects.” In re BearingPoint, Inc. Sec. Litig., 232 F.R.D. 534, 538 (E.D. Va.

2006) (quoting Broussard v. Meineke Disc Muffler Shops, 155 F.3d 331, 344 (4th Cir. 1998)).

Rather, variations among class members’ injuries do not defeat typicality as long as the members’

claims challenge the same course of conduct and make similar legal arguments to prove the

defendants’ liability. Clarke, 61 F. Supp. 3d at 589 (“It does not matter that the named plaintiffs .

. . suffered varying injuries . . . Rule 23(a)(3) requires only that their claims be ‘typical’ of the

class, not that they be identically positioned . . . to every other class member” (quoting Parsons,

754 F.3d at 686)). In the context of certifying a class of foster children alleging constitutional

violations by State policy, “even relatively pronounced factual differences will generally not

preclude a finding of typicality where there is a strong similarity of legal theories.” Baby Neal, 43

F.3d at 58.

               2.      Plaintiffs have satisfied the typicality requirement

       Plaintiffs have satisfied the typicality requirement. The histories of the Named Plaintiff

Children do present factual variations: the Named Plaintiffs come from seven different counties

across the State, suffered a variety of different kinds of trauma or were involved in juvenile justice

proceedings before entering DHHR custody, and have differing mental health diagnoses and

placement histories. But such differences do not pertain to determinations of typicality. Here,

Named Plaintiffs’ claims all rest on the same legal theory as the members of the putative class—

their exposure to a substantial risk of serious harm caused by Defendants’ policies and procedures.




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        Caselaw within the Fourth Circuit supports this conclusion. In Clarke, for example, the

named plaintiffs satisfied the typicality standard when, as here, they asserted that various State

policies and practices violated their constitutional rights by placing them at risk of harm. 61 F.

Supp. 3d at 587. For the plaintiff inmates suffered from a “broad variety of medical problems”

since coming into the care of the state, all of which allegedly resulted from the state prison’s

substandard medical care policies. Id. at 589. The Clarke court looked to the “essential question”

to determine whether typicality existed: if, “by demonstrating the facts necessary to establish . . .

their claims with respect to the systemic deficiencies . . . and Defendants’ deliberate indifference

to Plaintiffs’ serious medical needs, ‘would also prove the claims of the absent class members.’”

Id. (quoting Dieter, 436 F.3d at 467). As the various medical problems were “representative of the

adverse health issues experienced by the entire prison population,” the answer to the question was

yes. Id. Additionally, if the challenged policies “fail[ed] to pass constitutional muster[,] . . . the

resulting declaratory and injunctive relief would doubtless benefit the named Plaintiffs and all

other [] prisoners alike.” Id.

        Similarly, the Named Plaintiffs all remained in Defendants’ custody at the time of filing

the Complaint, their claims are identical to the claims of each class member, and their claims all

arise from the same course of conduct. Here, Plaintiffs’ Complaint alleges specific DHHR policies

and practices violate Plaintiffs’ constitutional and federal statutory rights. For instance, they allege

that Defendants have long failed to maintain a sufficient number of foster homes, operate

dysfunctional kinship care and transition-age youth programs, create inadequate case plans,

maintain insufficient community-based services, and overly rely upon out-of-state congregate care

placements. Plaintiffs further allege that DHHR caseworkers carry unreasonably high caseloads,

are inadequately trained, and that high vacancy rates pervade DHHR offices. Although the




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Complaint only details the irreversible impact of these policies and practices on the twelve Named

Plaintiffs, such systemic deficiencies harm every child in DHHR custody. The Named Plaintiffs

have not received any unusual treatment that would render their claim atypical. Moreover, the

relief that the Named Plaintiffs seek would benefit all class members in an identical manner.

Accordingly, the Named Plaintiffs’ claims are typical of the claims of the class as they clearly

satisfy the “same class,” “same interest” and “same injury” criteria for typicality required by the

Fourth Circuit. Proving their claims would also prove the claims of the absent class members.

       D.      The Named Plaintiff Children Will Adequately Represent the Class

               1.      The adequacy standard

       The Named Plaintiffs also satisfy the final prerequisite under Rule 23(a), which mandates

that “the representative parties [ ] fairly and adequately protect the interests of the class.” Fed. R.

Civ. P. 23(a)(4). Courts have developed a two-pronged test to determine whether Plaintiffs satisfy

the adequacy requirement: “(1) the named plaintiffs must not have interests antagonistic to those

of the class; and (2) the plaintiffs’ attorneys must be qualified, experienced, and generally able to

conduct the litigation.” In re Serzone Products Liab. Litig., 231 F.R.D. 221, 238 (S.D. W. Va.

2005). “The burden is on the defendant to demonstrate that the representation will be inadequate.”

Haywood v. Barnes, 109 F.R.D. 568, 579 (E.D.N.C. 1986).

               2.      Plaintiffs have satisfied the adequacy requirement

       The adequate representation inquiry “serves to uncover conflicts of interest between named

parities and the class they seek to represent.” In re Serzone Prods. Liab. Litig., 231 F.R.D. at 238

(internal quotation marks omitted). Minor conflicts between named plaintiffs and the putative class

members will not render the representatives inadequate. “To defeat the adequacy requirement of

Rule 23, a conflict ‘must be more than merely speculative or hypothetical.’” Gunnells, 348 F.3d




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at 430 (quoting 5 Moore’s Federal Practice § 23.25[4][b][ii] (2002)). Only a “fundamental”

conflict that “go[es] to the heart of the litigation” will suffice to defeat adequacy. See id. at 430-

31. No such fundamental conflict exists when “all class members share common objectives and

the same factual and legal positions [and] have the same interest in establishing the liability of

[defendants].” Ward v. Dixie Nat’l Life Ins. Co., 595 F.3d 164, 180 (4th Cir. 2010) (internal

quotation marks omitted). “The principal factor in determining the adequacy of class

representatives is whether the plaintiffs have the ability and commitment to prosecute the action

vigorously.” Thomas v. La.-Pacific Corp., 246 F.R.D. 505, 509 (D.S.C. 2007).

          The Named Plaintiffs satisfy the adequacy requirements of 23(a)(4) as no conflict—let

alone a fundamental one—exists between them and other class members. The Named Plaintiffs

also share a common objective with the putative class members: to pursue claims common to the

class as a whole and to advance the common interest of reforming Defendants’ constitutionally

deficient foster care system on the basis of the same factual and legal positions.251 In seeking

injunctive relief to alter Defendants’ conduct and improve West Virginia’s child welfare practices

for all class members, they share the same interest in establishing the liability of Defendants. The

requested relief does not include money to be divvied up between class members to form potential

conflicts, and no competition exists to achieving a foster care system in compliance with the

Constitution and federal law. Accordingly, “Plaintiffs do not seek relief for themselves different

in quality or character from the relief sought for the class as a whole.” Clarke, 61 F. Supp. at

590.252



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   See supra, Sections IV.B, C (discussing commonality and typicality).
252
   See also Thomas v. La.-Pacific Corp., 246 F.E.D. 505, 509 (D.S.C. 2007) (finding Rule 23(a)(4) was satisfied
because there was no conflict between plaintiffs and the class). Clarke further clarified that “Plaintiffs do not have
any interests in conflict with the interests of the members of the class they seek to represent . . . [because] . . . Plaintiffs
seek a declaratory judgment and an injunctive order requiring the Defendants to provide the constitutionally-required
level of care sufficient to meet the serious medical needs of all [] prisoners.” Clarke, 61 F. Supp. at 590.


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        Also, Plaintiffs’ attorneys are amply qualified, experienced, and able to conduct this

litigation. As discussed in Section V, infra, Plaintiffs’ counsel have both the experience and

expertise in handling class action and civil rights litigation, particularly in matters relating to foster

care, disability rights, and unconstitutional governmental policies and practices. “Courts generally

hold that the employment of competent counsel assures vigorous prosecution.” Thomas, 246

F.E.D. at 509 (quoting S.C. Nat’l Bank v. Stone, 139 F.R.D. 325, 331 (D.S.C. 1991)).

        Named Plaintiffs are appropriate and adequate class representatives as they do not have

any interests antagonistic to the class as a whole, and counsel who satisfies the standards set forth

in Rule 23(g) represents them. Named Plaintiffs will therefore “fairly and adequately protect the

interests of the class.” Fed. R. Civ. P. 23(a)(4).

        E.       The Named Plaintiff Children Satisfy the Requirements of Rule 23(b)

                 1.       The Rule 23(b) Standard

        In addition to satisfying the prerequisites of Rule 23(a), the proposed class in this case

satisfies Rule 23(b)(2). Certification is appropriate under Rule 23(b)(2) when “the party opposing

the class has acted or refused to act on grounds that apply generally to the class, so that final

injunctive relief or corresponding declaratory relief is appropriate respecting the class as a whole.”

Fed. R. Civ. P. 23(b)(2). Rule 23(b)(2) has been “liberally applied in the area of civil rights.”

Bumgarner, 276 F.R.D. at 457. Notably, a West Virginia district court observed that both the

Supreme Court and the Fourth Circuit had made “affirmative statements . . . that suits brought for

injunctive relief alleging civil rights violations are precisely the type of suit for which Rule

23(b)(2) was intended to provide class certification.” Harris v. Rainey, 299 F.R.D. 486, 494 (W.D.

Va. 2014) (citing Amchem Prods., Inc., 521 U.S at 614).253


253
   See also Thorn, 445 F.3d at 331 (“[C]ertification under Rule 23(b)(2) is improper when the predominant relief
sought is not injunctive or declaratory, even if the relief is equitable in nature.”); Clarke, 61 F. Supp. 3d at 591


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         “The key to the (b)(2) class is the indivisible nature of the injunctive or declaratory remedy

warranted.” Wal-Mart Stores, Inc., 564 U.S. at 360 (internal quotation marks omitted). Under this

requirement, class members must share a certain cohesiveness with respect to their injuries. The

Fourth Circuit has expressly stated that “Rule 23(b)(2)'s categorical exclusion of class actions

seeking primarily monetary relief . . . ensures that the class is sufficiently cohesive [such] that the

class-action device is properly employed.” Harris, 299 F.R.D. at 497 (citing Thorn, 445 F.3d at

330). After all, "because of the group nature of the harm alleged and the broad character of the

relief sought, the (b)(2) class is, by its very nature, assumed to be a homogenous and cohesive

group with few conflicting interests among its members." Berry, 807 F.3d at 608-11 (internal

quotation marks omitted). “The essential consideration is whether the complaint alleges that the

plaintiffs have been injured by defendants' conduct which is based on policies and

practices applicable to the entire class.” Bumgarner, 276 F.R.D. at 457-58. Certification is thus

appropriate where, as here, final injunctive relief is sought and will “settl[e] the legality of the

behavior with respect to the class as a whole.” Berry v. LexisNexis Risk & Info. Analytics Grp.,

Inc., No. 3:11-CV-754, 2014 U.S. Dist. LEXIS 124415, at *34 (E.D. Va. Sep. 5, 2014) (citing

Thorn, 445 F.3d at 329) (internal quotation marks omitted).

         Numerous courts across the country have certified classes of foster care children under

Rule 23(b)(2) where the relief sought is injunctive and would benefit all class members. In DG v.

Devaughn, the Tenth Circuit affirmed the district court’s ruling254 to certify a plaintiff class of


(granting motion for class certification and recognizing “Rule 23(b)(2) was drafted specifically to facilitate relief in
civil rights suits”); Olvera-Morales v. Int’l Labor Mgmt. Corp., 246 F.R.D. 250, 252 (M.D.N.C. 2007) (granting
motion for class certification of temporary foreign workers alleging discriminatory recruitment practices by
employment agency).
254
     Defendants in Devaughn challenged the lower court’s ruling by providing evidence that caseloads were not
excessive in rural areas and arguing that plaintiffs failed to show sufficiently similar injuries. In rejecting defendants’
argument, the court explained that (1) Rule 23(b)(2) does not require named plaintiffs to prove actual harm or exposure
to risk of harm as to every class member at the certification stage; and (2) the injuries alleged were sufficiently similar
if they could “be addressed in a single injunction that need not differentiate between class members.” Id. 594 F.3d at


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foster children who sought relief in the form of an injunction both setting limits on caseworker

caseloads and mandating that caseworkers visit the children on their caseloads more frequently.

594 F.3d 1188, 1201 (10th Cir. 2010). The court reasoned that all class members, by virtue of

being in defendants’ custody, were subject to defendants’ practice of assigning excessive caseloads

and failing to ensure that caseworkers adequately monitored the children on their caseloads. Id.

Furthermore, the named plaintiffs alleged the same injury—an impermissible risk of harm—on

behalf of all class members as a result of these deficient practices. Id. On these grounds, the court

found that the proposed class satisfied the requirements of Rule 23(b)(2). Id.

         Similarly, in Connor B v. Patrick, the court certified a class of Massachusetts foster

children alleging constitutional harms and seeking several forms of injunctive relief including

“stricter limits on caseworker caseloads and increased visitation by caseworkers of children in

foster homes.” 272 F.R.D. 288, 297 (D. Mass. 2011). The court held that such “relief would benefit

the entire class” and was “fully consistent with Rule 23(b)(2). Id. Defendants in Connor B. argued

that Plaintiffs’ allegations required “highly-individualized determination[s]” and therefore were

not proper for class-wide treatment. Id at 297. In dismissing the argument, the court explained,

“the existence of differences among members of the Plaintiff class does not make certification

improper. In fact, it is not uncommon for courts . . . to certify class actions in which alleged

systemic deficiencies resulted in harms that manifested themselves differently among different

segments of the plaintiff class.” Id. M.D. v. Perry likewise certified a proposed class of Texas

foster children under Rule 23(b)(2) who sought injunctive relief requiring defendants to assign a

caseworker to all class members and to establish caseload standards. 294 F.R.D. at 46-47. As the

court reasoned, “Plaintiffs have alleged a unified harm to class members—an unreasonable risk of


1201 (internal quotation marks omitted). The court held that imposing caseload limits and increasing monitoring could
sufficiently mitigate the risk of harm suffered by all class members. Id.


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harm due to ineffective monitoring and planning because caseworkers are overburdened.” Id at 47.

Plaintiffs’ claim also proved “susceptible to common, specific relief . . . such as: setting maximum

caseloads [or] hiring more caseworkers”—although “[t]he Court need not, at this stage, determine

what remedy Plaintiffs would be entitled to if they prevailed on the merits of their claim.” Id.

“Critically, injunctions of this sort would require no additional individual assessments.” Id.

         The Fourth Circuit has embraced the preceding principles. In other words, the Circuit

routinely certifies classes under Rule 23(b)(2) when plaintiffs in state custody allege systemic

failures. See, e.g., Clarke, 61 F. Supp. 3d at 590-91.255

                   2.       Plaintiffs have satisfied the Rule 23(b)(2) requirement

         Named Plaintiffs easily satisfy the requirements of Rule 23(b)(2). Defendants, through the

policies, practices, and procedures that compose their foster care program, have acted or refused

to act on grounds generally applicable to each of the class members. For all class members are

children in the custody of Defendants at the time of filing and so, despite differences in individual

histories and circumstances, all class members are equally subject to these deficient policies and

practices and associated risks. Accordingly, Defendants’ conduct “is such that it can be enjoined

or declared unlawful only as to all of the class members or as to none of them.” Wal-Mart Stores,

Inc., 564 U.S. at 360.




255
    In Clarke, the court found the Rule 23(b)(2) standard was met where the proposed class of prisoner plaintiffs
alleged the defendants provided deficient medical care “on a systemic basis that jeopardize[d] the continuing health .
. . of all other prisoners” in their facility and “[i]f Plaintiffs ultimately prevail[ed] on the merits of their claims, the
resulting declaratory and injunctive relief [would] apply to and benefit all members of the proposed class.” Scott, 61
F. Supp. 3d at 590-91; see also Bumgarner, 276 F.R.D. at 457-58 (holding declaratory and injunctive relief was
appropriate because the harm alleged by plaintiffs—a proposed class of inmates in the custody of defendants—derived
from the policies and practices of defendants’ sentence reduction program, which excluded disabled inmates from
certain benefits and therefore satisfied the requirements under Rule 23(b)(2)); Buffkin, 2018 U.S. Dist. LEXIS 202875
at *21 (granting certification of a proposed class of inmates diagnosed with Hepatitis C, who, under prison policy,
were not treated with anti-viral drugs, and stating that “it is the policy itself that Plaintiffs are challenging and because
[the policy] applies to all members of the class, the requested relief would benefit all members.”).


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         Indeed, Plaintiffs seek to cure system-wide failures rather than to adjudicate any individual

child’s case. Their Complaint identifies the need for an injunction that will increase caseworker

staffing, increase mental health services, ensure each child has a written case plan that provides

for permanency or reunification, and improve the quality and quantity of foster care placements

throughout the State of West Virginia. (See ECF No. 1, ¶ 405.) Such injunctive and declaratory

relief would clearly benefit all class members.

         Here, Plaintiffs’ claims cannot receive meaningful relief without the relief proceeding on

a class-wide basis. For instance, an order granting relief with respect to only one child, without

addressing the system shortfalls, would “rob Peter to pay Paul”256 by shifting resources to benefit

one child away from another. Accordingly, the court would be playing a zero-sum game.

Moreover, granting relief to a particular child may provide temporary relief, but, as that child’s

needs change over time, the child will once again be subject to Defendants’ policies and practices

which failed to provide for their needs in the first place. Accordingly, the court should certify the

class under Rule 23(b)(2) because Defendants’ unconstitutional practices apply generally to the

class and only final injunctive and declaratory relief will “settle the legality of the behavior with

respect to the class as a whole”. Thorn, 445 F.3d at 329 (internal quotation marks omitted).

         Each subclass similarly seeks broad, uniform injunctive relief to redress the additional,

particularized harms that each subclass of children suffers as a result of Defendants’ policies and

practices: the Kinship Subclass seeks injunctive relief requiring Defendants to develop adequate


256
   Braggs v. Dunn, 317 F.R.D. 634, 667-69 (M.D. Ala. 2016). Braggs certified a class of prisoners under Rule 23(b)(2)
who alleged system-wide deficiencies in Defendants’ mental health system. Id. at 674. The court explained that,
“[a]lthough the court could order . . . that a particular prisoner who currently requires psychiatric care be seen by a
psychiatrist, it cannot order that adequate staffing be provided to the extent necessary to address any one particular
prisoner’s mental-health care needs as they develop in the future . . . Moreover, any order remedying a systemic
deficiency with respect to only one prisoner would rob Peter to pay Paul; the court would be playing a zero-sum game,
shifting mental-health care resources from one prisoner to another.” Id. at 668.




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statewide kinship placement plans, provide adequate funding to unlicensed kinship caregivers,

properly monitor kinship placements, and ensure the proper execution of background checks and

home safety inspections; the ADA Subclass seeks injunctive relief requiring Defendants to develop

and maintain an adequate array of therapeutic services and foster placements, and to provide

services to children with disabilities “in the most integrated setting appropriate to the child’s

needs”; and the Aging-Out Subclass seeks injunctive relief requiring DHHR to implement

transition planning for youth over fourteen who are not imminently likely to achieve permanency,

and prohibiting the refusal of a foster placement on the grounds of the youth being over fourteen

years of age. These subclasses satisfy the requirements of Rule 23(b)(2) because the requested

relief for each responds to conduct of Defendants that generally affects all subclass members and

“would provide relief to each member of the class.” Wal-Mart Stores, Inc., 544 U.S. at 360.

V.     THE COURT SHOULD APPOINT CLASS COUNSEL

       Federal Rule of Civil Procedure 23(g) requires that the Court appoint class counsel for any

certified class. Class counsel must “fairly and adequately represent the interests of the class.” Fed.

R. Civ. P. 23(g)(1)(B), (g)(4). In determining whether a proposed class satisfies this requirement,

courts “must consider (i) the work counsel has done in identifying and investigating potential

claims in the action; (ii) counsel’s experience in handling class actions, other complex litigation,

and the types of claims asserted in the action; (iii) counsel’s knowledge of the applicable law; and

(4) the resources that counsel will commit to representing the class.” Fed. R. Civ. P. 23(g)(1)(A).

“[A]n essential concomitant of adequate representation is that the party’s attorney be qualified,

experienced and generally able to conduct the proposed litigation.” Barton v. Constellium Rolled

Prods. Ravenswood, LLC, No. 2:13-cv-03127, 2014 U.S. Dist. LEXIS 57703, at *12 (S.D. W. Va.

Apr. 25, 2014) (internal quotation marks omitted).




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        With respect to the requirements and considerations under Rule 23(g), Plaintiffs’ counsel

are fully qualified and prepared to pursue this action on behalf of the proposed Classes. Proposed

class counsel consists of attorneys from A Better Childhood, Inc. (“ABC”), Shaffer and Shaffer

PLLC, and Disability Rights of West Virginia.257 Counsel have dedicated substantial efforts to

develop the class allegations in this matter. Indeed, over the course of ten months, counsel made

multiple trips to various parts of West Virginia to meet with dozens of key stakeholders, and spent

hundreds of hours compiling and analyzing relevant data.258 Counsel have extensive experience

and expertise in handling class action and civil rights litigation, particularly in matters relating to

foster care, disability rights, and unconstitutional governmental policies and practices. 259 For

instance, Marcia Robinson Lowry, Executive Director of ABC, has litigated class action child

welfare reform cases alleging system-wide deficiencies for over forty years; Disability Rights of

West Virginia has extensive experience and expertise representing individuals with disabilities

pursuant to the Developmental Disabilities Assistance and Bill of Rights Act; and Shaffer and

Shaffer is a full-service West Virginia law firm with extensive experience in class action litigation

and matters involving child abuse and neglect, the ADA, and Section 504 of the Rehabilitation

Act, as well as other complex litigation matters.260 Finally, in addition to knowledge of the

applicable laws and the nuances of the claims raised thereunder, proposed class counsel have

sufficient financial and human resources dedicated to litigating this matter.261

        Proposed class counsel also has the ability to represent the class fairly and adequately. See

Fed. R. Civ. P. 23(g)(1)(B), (g)(4). “Adequacy of counsel is generally presumed in the absence of


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    The Declarations of Marcia Robinson Lowry and Richard W. Walters, filed concurrently with this Memorandum,
contain detailed descriptions of class counsels’ qualifications. See generally Lowry Dec.; Declaration of Richard W.
Walters (hereinafter “Walters Dec.”).
258
    See Lowry Dec. at ¶ 10; see also Walters Dec. at ¶¶ 9-11.
259
    See Lowry Dec. at ¶¶ 4-11; see also Walters Dec. at ¶¶ 2-8, 13.
260
    See Lowry Dec. at ¶¶ 4-6; see also Walters Dec. at ¶¶ 2-8, 13.
261
    See Lowry Dec. at ¶¶ 4-11; see also Walters Dec. at ¶¶ 3, 8, 10-11.


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specific proof to the contrary.” Hutson v. CAH Acquisition Co. 10, LLC, No. 1:15-cv-742, 2016

U.S. Dist. LEXIS 107329, at *14 (M.D.N.C. Aug. 15, 2016) (internal quotation marks omitted).262

Plaintiffs’ counsel do not have conflicts of interest with the Named Plaintiffs or with any known

individuals within the putative classes. As Plaintiffs have established that proposed class counsel

is “qualified to vigorously prosecute this action on behalf of the proposed class and subclasses,”

Plaintiffs respectfully request that this Court appoint the proposed class counsel. Beaulieu v. EQ

Indus. Servs., No. 5:06-cv-400-BR ALL, 2009 U.S. Dist. LEXIS 133023, at *45 (E.D.N.C. Apr.

20, 2009).

VI.      CONCLUSION

         For the reasons set forth above, Plaintiffs respectfully ask that the Court grant Plaintiffs’

Motion and certify the General Class and each subclass, because the defined classes meet the

requirements of Rule 23(a) and 23(b)(2).


                                                               Respectfully submitted,

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   Huston held that class counsel was capable of fairly and adequately representing the class, because “counsel ha[d]
investigated, and pursued the class claims diligently, has experience ligating class actions, and has knowledge of
[applicable] laws.” 2016 U.S. Dist. LEXIS 107329, at *18.


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